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               IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF MISSISSIPPI
                            NORTHERN DIVISION

JERMAINE DOCKERY, et al.,

Plaintiffs,

        v.                               Civil Action No. 3:13-cv-326-WHB-JCG

PELICIA HALL, et. al.,

Defendants.



                PLAINTIFFS’ POST-TRIAL MEMORANDUM BRIEF
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                                            INTRODUCTION

        Plaintiffs seek declaratory and injunctive relief to remedy unconstitutional conditions at

the East Mississippi Correctional Facility (“EMCF”). Based on evidence adduced at and after trial

Plaintiffs are entitled to that relief, for the reasons stated herein.

I.      Factual Background

        EMCF is the facility designated by the Mississippi Department of Corrections (“MDOC”)

for its most seriously mentally ill prisoners. EMCF is privately operated by the Management &

Training Corporation (“MTC”). MTC has subcontracted food services to another company, Trinity

Services Group, Inc. (“Trinity”). MDOC has contracted with another company, Centurion of

Mississippi, LLC (“Centurion”), to provide medical and mental healthcare services at EMCF.

        Plaintiffs are the certified class of all persons who are currently, or will be, confined at

EMCF. See Order, ECF No. 257, at 30 (Sept. 29, 2015). In addition, three subclasses have been

certified: the Isolation Subclass, consisting of all persons who are currently, or will be, subjected

to Defendants’ policies and practices of confining prisoners in conditions amounting to solitary

confinement; the Mental Health Subclass, consisting of all persons who are currently, or will be,

subjected to Defendants’ mental health care policies and practices; and the Units 5 and 6

Subclasses, consisting of all persons who are currently, or will be, housed in Units 5 and 6. Id.

        Defendants are MDOC officials sued in their official capacities. Pelicia Hall is MDOC’s

Commissioner. Jerry Williams is MDOC’s Deputy Commissioner for Institutions. Dr. Gloria Perry

is MDOC’s Chief Medical Officer. Jointly and severally, Defendants are responsible for ensuring

that conditions at EMCF comply with constitutional standards.

        Plaintiffs have asserted seven constitutional claims, each concerning a different condition

or set of conditions that subject Plaintiffs and/or a Plaintiff subclass to a substantial risk of serious
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harm in violation of the Eighth Amendment to the United States Constitution. Those seven claims

concern: (1) health care, (2) mental health care, (3) isolation, (4) excessive force, (5) protection

from harm, (6) environmental conditions, and (7) nutrition and food safety.

        With respect to each claim, Plaintiffs seek (1) declaratory relief in the form of an order

declaring, inter alia, that Defendants’ acts, omissions, policies, and practices violate the rights of

the Plaintiff class and subclasses under the Eighth Amendment (Compl. ¶ 328.B); (2) injunctive

relief in the form of an order permanently enjoining Defendants from subjecting the Plaintiff class

and subclasses to proven illegal and unconstitutional conditions, acts, omissions, policies, and

practices (Compl. ¶ 328.C); (3) an order requiring Defendants to develop and implement, as soon

as practical, a plan to eliminate the proven substantial risks of serious harm (Compl. ¶ 328.D); and

(4) costs, attorneys’ fees, and expenses (Compl. ¶ 328.E). Plaintiffs also seek the Court’s

continuing jurisdiction over the action “until Defendants have fully complied with the Orders of

this Court, and there is a reasonable assurance that Defendants will continue to comply in the future

absent continuing jurisdiction.” Compl. ¶ 328.F.

II.     Procedural History

        Trial was held from March 5, 2018 to April 8, 2018. 32 fact witnesses and eight expert

witnesses testified, 12 deposition transcripts were designated, and 335 exhibits were entered into

the record. On August 24, 2018, the Court ordered the parties to submit additional expert reports

concerning mental health, medical care, and security staffing. See Order, Aug. 24, 2018, ECF No.

767. Plaintiffs submitted four additional expert reports. See ECF No. 799-1 (Stern 2018 Rpt.); ECF

No. 800-1 (LaMarre 2018 Rpt.); ECF No 801-1 (Vail 2018 Rpt.); ECF No. 807-2 (Gage 2018

Rpt.). Defendants submitted two additional expert reports from their security experts. See ECF No.

812-2 (Roth 2018 Rpt.); ECF No. 802-4 (McGinnis 2018 Rpt.). Defendants also submitted two




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fact declarations from the EMCF Chief Psychiatrist, Steven Bonner, M.D., and the EMCF Medical

Director, Patrick Arnold., M.D. See ECF No. 812-1 (Bonner Decl.); ECF No. 812-3 (Arnold

Decl.).

                                         LEGAL STANDARD

I.        Eighth Amendment Standard

          “[T]he treatment a prisoner receives in prison and the conditions under which he is

confined are subject to scrutiny under the Eighth Amendment.” Helling v. McKinney, 509 U.S. 25,

31 (1993). Prison officials must thus provide prisoners with “adequate food, clothing, shelter, and

medical care, and must ‘take reasonable measures to guarantee the safety of the inmates.’” Farmer

v. Brennan, 511 U.S. 825, 832 (1994) (citing Hudson v. Palmer, 468 U.S. 517, 526–27 (1984)).

          To prove an Eighth Amendment violation, a party must satisfy a two-part test. First, the

party must make an “objective” showing: that the official’s actions or omissions caused a prisoner,

or class of prisoners, to be “incarcerated under conditions posing a substantial risk of serious

harm.” Id. at 834. The relevant inquiry is not whether the plaintiff has actually suffered harm but

rather whether he faces a “substantial risk of harm.” Id. at 842 (emphasis added); see also Helling,

509 U.S. at 32 (“It would be odd to deny an injunction to inmates who plainly proved an unsafe,

life-threatening condition in their prison on the ground that nothing yet had happened to them.”);

Gates v. Cook, 376 F.3d 323, 333 (5th Cir. 2004) (“It is also important to note that the inmate need

not show that death or serious illness has occurred.”). Further, “[c]onditions of confinement may

establish an Eighth Amendment violation ‘in combination’ . . . when they have a mutually

enforcing effect that produces the deprivation of a single, identifiable human need.” Gates, 376

F.3d at 333 (citing Wilson v. Seiter, 501 U.S. 294, 304 (1991)).

          Second, the party must make a “subjective” showing: that the official displayed




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“‘deliberate indifference’ to the substantial risk of harm to inmate health or safety.” Farmer, 511

U.S. at 834 (quoting Wilson, 501 U.S. at 302–03). It is not necessary to prove that a defendant

“believ[ed] that harm actually would befall an inmate,” but only that “the official acted or failed

to act despite his knowledge of a substantial risk of serious harm.” Id. at 842. Deliberate

indifference is “a question of fact subject to demonstration in the usual ways, including inference

from circumstantial evidence.” Id. As such, it may be established by proof that unconstitutional

conditions are “longstanding, pervasive, well-documented, or expressly noted by prison officials

in the past,” or based on “the very fact that the risk was obvious.” Id. at 842-43; see, e.g., Lawson

v. Dallas Cty., 286 F.3d 257 (5th Cir. 2002) (deliberate indifference where risk was obvious);

Hinojosa v. Livingston, 516 F.3d 657 (5th Cir. 2015) (deliberate indifference where conditions

were pervasive). Prison officials may also be found deliberately indifferent by the simple fact that

evidence of a serious risk has been adduced before a court and the officials thus cannot “plausibly

persist in claiming lack of awareness” of the risk. Farmer, 511 U.S. at 846 n.9; see also Hadix v.

Johnson, 367 F.3d 513, 526 (6th Cir. 2004) (evidence that is sufficient to satisfy the objective

prong of the Farmer test “would also satisfy the subjective prong because the same information

that would lead to the court’s conclusion was available to the prison officials”).

II.     Plaintiffs Do Not Bear the Burden of Proving Continuing Violations

        The Court asked Plaintiffs to provide a post-trial brief “identifying the conditions that

continue to exist at EMCF” that violate the Eighth Amendment. ECF No. 830. Though each of the

complained-of conditions persist at EMCF, Plaintiffs do not bear the burden of showing that

proven violations continue to exist.

        “It is well settled that a defendant’s voluntary cessation of a challenged practice does not

deprive a federal court of its power to determine the legality of the practice.” Gates, 376 F.3d at




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337. The Supreme Court has so held for at least 75 years. See, e.g., Walling v. Helmerich & Payne,

323 U.S. 37, 43 (1944) (“Voluntary discontinuance of an alleged illegal activity does not operate

to remove a case from the ambit of judicial power.”); United States v. W.T. Grant Co., 345 U.S.

629, 633 (1953) (defendants must meet “heavy” burden of proving “there is no reasonable

expectation that the wrong will be repeated” to moot claim).

       Rather, if Defendants wish to moot Plaintiffs’ claims because they believe they have fixed

the unconstitutional conditions, they bear the “heavy burden” of establishing not only that they

have actually voluntarily ceased the unconstitutional conduct, but also that it “could not reasonably

be expected to recur.” Gates, 376 F.3d at 337 (citing Friends of the Earth, Inc. v. Laidlaw Envt’l

Servs, Inc., 528 U.S. 167, 190 (2000)). This standard is “stringent,” and the burden is “formidable.”

Laidlaw, 528 U.S. at 189-90. Defendants must prove that it is “absolutely clear that the allegedly

wrongful behavior could not reasonably be expected to recur.” Id. at 189 (quoting United States v.

Concentrated Phosphate Exp. Ass’n, 393 U.S. 199, 203 (1968) (internal quotation marks omitted);

see also Sossamon v. Lone Star State of Tex., 560 F.3d 316, 325 (5th Cir. 2009) (same). Otherwise,

a wrongdoer would be “free to return to his old ways.” W.T. Grant Co., 455 U.S. at 632.

       The constraints on prospective relief created by the Prison Litigation Reform Act

(“PLRA”) do not alter this long-standing rule. Recently, the Eastern District of Virginia and the

Fourth Circuit addressed this very issue. Prisoners on Virginia’s death row alleged that the Virginia

Department of Corrections (“VDOC”) confined them in conditions that violated the Eighth

Amendment. See Porter v. Clarke, 2016 WL 3766301, at *4 (E.D. Va. Jul. 8, 2016) (“Porter I”).

On a motion for summary judgment, VDOC presented evidence that it had made “significant

changes to plaintiffs’ conditions of confinement.” Id. at *5. The district court found that these

changes had mooted the plaintiffs’ claims, noting, in part, that the changes could not “be easily or




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casually reversed.” Id. at *9-10. The Fourth Circuit reversed. See Porter v. Clarke, 852 F.3d 358,

365 (4th Cir. 2017) (“Porter II”). The Circuit found that despite VDOC’s voluntary improvements,

including policy changes and the alteration, at significant expense, of the prison’s physical plant,

VDOC “retain[ed] the authority and capacity” to return to its challenged behavior, would not

“promise not to resume the prior practice,” and “suggested that circumstances may require re-

imposing the challenged policies.” Id. at 366. Thus, VDOC did not meet its “heavy burden” of

proving mootness via voluntary cessation. Id. (internal quotations and alterations omitted).

       On remand, the district court considered the interaction of the voluntary cessation doctrine

with the PLRA’s restrictions on prospective relief. The court determined that “an ongoing violation

of a constitutional right is not a prerequisite for the initial entry of injunctive relief under the

PLRA.” Porter v. Clarke, 290 F. Supp. 3d 518, 535-36 (E.D. Va. 2018) (“Porter III”), appeal

docketed, No. 18-6257 (4th Cir. Mar. 15, 2018). The section of the PLRA applicable to the

termination of an existing consent decree permits termination of a decree when there is no “current

and ongoing” violation, but that “current and ongoing” language is conspicuously absent from the

section of the PLRA applicable to the initial entry of prospective relief. Id. at 536-37; compare 18

U.S.C. § 3626(a) (PLRA requirements for initial entry of prospective relief) with 18 U.S.C.

§ 3626(b)(3) (PLRA requirements for termination of existing consent decree). Porter III is

consistent with settled law holding that “[w]here Congress knows how to say something but

chooses not to do so, its silence is controlling.” In re Haas, 48 F.3d 1153, 1156 (11th Cir. 1995).

Thus, Congress’s inclusion of the “current and ongoing” language in Section 3626(b) and its

exclusion of the same language from Section 3626(a) means that Plaintiffs need not prove a current

and ongoing violation to prevail. See Thomas v. Bryant, 614 F.3d 1288, 1320 (11th Cir. 2010)

(finding “current and ongoing” standard not applicable to initial entry of injunctive relief).




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       Deference to the PLRA’s statutory silence is required because “the Supreme Court has

counseled that courts ‘should not construe a statute to displace courts’ traditional equitable

authority absent the clearest command or an inescapable inference to the contrary.’” Porter III,

290 F. Supp. 3d at 536 (quoting Miller v. French, 530 U.S. 327, 340 (2000)). The PLRA contains

no clear command or inescapable inference displacing the voluntary cessation doctrine. Id. at 535.

       Based on this precedent, once Plaintiffs have proven that Defendants have violated the

Eighth Amendment, Defendants must carry the “heavy burden” of proving that they have ceased

those violations and that those violations cannot reasonably be expected to recur. Defendants have

not made this substantial showing as to the seven claims set forth herein.

                          PROPOSED FINDINGS OF FACT AND REMEDIES

       Defendants have violated the Eighth Amendment with respect to each of the following

claims, and the Plaintiff class and subclasses are therefore entitled to relief.

I.     Claim One—Health Care

       EMCF’s prisoners are substantially more reliant on the facility’s health care system than is

typical statewide.1 Yet Defendants have for years failed to provide a health care system that can

meet their serious medical needs. Instead, the deficiencies in EMCF’s health care system place all

prisoners at EMCF at substantial risk of serious harm—and many EMCF prisoners have in fact

experienced harm, including likely preventable deaths.2

       Madeleine LaMarre, M.N., FNP-BC, and Marc Stern, M.D., testified for Plaintiffs. The

Court qualified Ms. LaMarre and Dr. Stern in the field of correctional health care.3 Ms. LaMarre

has over 30 years of experience in the field, including her role overseeing the provision and quality


1
  See Ex. 51, PTX-887 (Feb. 2016 Centurion report) (96.7 percent of EMCF prisoners receive medication
compared to 64.7 percent of prisoners statewide).
2
  See, e.g., ECF No. 799-1, at 1-3 (Stern 2018 Rpt.).
3
  See Ex. 27, Tr. vol. 28, 4:20-5:7 (LaMarre); Ex. 18, Tr. vol. 19, 30:4-10, 31:12-25 (Stern).


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of medical care in Georgia’s state prisons.4 Dr. Stern has over 20 years of experience in the field,

including serving as the medical director of the Washington State Department of Corrections.5

Defendants did not present any expert testimony with respect to medical care, and Ms. LaMarre’s

and Dr. Stern’s opinions and dozens of patient case studies are therefore unrebutted.

       Defendants have been aware of these systemic problems for years via Plaintiffs’ complaint;

previous expert reports submitted in 2011, 2014, 2016, and 2018; their own continuous quality

improvement (“CQI”) reports and internal reviews; audits; and EMCF patients’ medical records,6

but have failed to take necessary corrective action—indeed, Defendants are so indifferent to the

adequacy of health care at EMCF that, despite the allegations in this action, at the time of trial, Dr.

Perry, MDOC’s Chief Medical Officer, had never even stepped foot in the prison.7

       A.      Defendants Fail to Provide Plaintiffs Access to Urgent Care

       Access to urgent care is required when the time taken to respond to a medical need is of

the essence.8 Defendants admit that access to urgent care is an essential component of adequate

correctional health care services.9 Further, many Plaintiffs have serious medical needs requiring

urgent care, including cardiac events, seizure disorder, bleeding, diabetes, respiratory disorders,

shortness of breath, choking, loss of consciousness, bone fractures, and abscesses.10

       But access to urgent care at EMCF is systematically hindered by Defendants’ failure to


4
  See Ex. 26, Tr. vol. 27, 14:11-19 (LaMarre).
5
  See ECF No. 799-1, at Att. 5 (Stern 2018 Rpt.).
6
   See, e.g., Ex. 22, Tr. vol. 23, 10:9-14, 11:3-20, 21:10-18, 23:3-9, 29:1-2, 95:9-17, 102:1-2 (Perry)
(admitting to reading Dr. Stern’s 2016 report, being aware of Dr. Stern’s 2014 report (including its
references to Ms. LaMarre’s report), reading a Centurion audit of health care at EMCF, and receiving CQI
data regarding the same, and agreeing that the CQI results were “not” “very good”); Ex. 24, Tr. vol. 25,
72:4-23 (Hall) (MDOC Commissioner admitting she is aware of Plaintiffs’ claims); see also PTX-1505
(LaMarre 2016 Rpt.) (attaching 2011 and 2014 reports); ECF No. 800-1 (LaMarre 2018 Rpt.); Ex. 75, PTX-
1501(b) (Stern 2014 Rpt.); Ex. 74, PTX-1501(a) (Stern 2016 Rpt); ECF No. 799-1 (Stern 2018 Rpt.).
7
  See Ex. 22, Tr. vol. 23, 13:19-20 (Perry).
8
  See, e.g., ECF No. 799-1, at 4 (Stern 2018 Rpt.).
9
  Ex. 22, Tr. vol. 23, 60:24-61:13 (Perry).
10
   See ECF No. 799-1, at 4-5 (Stern 2018 Rpt.).


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provide means for prisoners to notify staff of their urgent medical needs. For example, prisoners

outside of Unit 5 have no means of alerting staff to urgent needs when they are locked in their

cells, short of yelling and banging (which staff cannot always hear), and setting fires.11 Typically,

prisoners must wait for rounds to alert staff to an urgent need, but rounds may occur several

minutes to hours later—enough time for a preventable injury or death to occur.12

        Access to urgent care is also hindered by security staff failures to respond appropriately

and promptly to prisoners’ urgent medical needs—with officers often ignoring or not informing

medical staff of those urgent needs.13 Even when alerted to prisoners’ urgent needs, nurses also

hinder access to urgent care by conducting inadequate patient assessments and inconsistently

referring prisoners with urgent needs to doctors, preventing access to necessary care.14

        Defendants’ failure to provide access to urgent care place Plaintiffs at substantial risk of

serious harm.15 Indeed, these failures may have contributed to preventable deaths. In one such

11
   See, e.g., ECF No. 799-1, at 4-5 (Stern 2018 Rpt.) (admission by Warden Shaw that panic buttons are not
operational outside of Unit 5); Ex. 74, PTX-1501(a), at 5-6 (Stern 2016 Rpt.) (noting problems with panic
buttons); Ex. 7, Tr. vol. 8, 103:10-14 (Clemons) (“if there’s an emergency, a lot of times . . . you just have
to get a whole lot of inmates to beat and yell and scream and kick”); Ex. 21, Tr. vol. 22, 35:21-36:9 (Long)
(similar); Ex. 24, Tr. vol. 25, 39:14-40:8 (J.H.) (cells for mental health observation do not have panic
buttons).
12
   See, e.g., ECF No. 799-1, at 4 (Stern 2018 Rpt.); Ex. 74, PTX-1501(a), at 5-6 (Stern 2016 Rpt.)
(describing incidents where prisoners experiencing seizures, cardiac events, and lack of consciousness did
not receive timely urgent care, and prisoners had to bang on doors and wait for scheduled rounds for staff
attention).
13
   See, e.g., ECF No. 799-1, at 4 (Stern 2018 Rpt.); Ex. 74, PTX-1501(a), at 6 (Stern 2016 Rpt.); Ex. 8, Tr.
vol. 9, 48:7-50:15 (Beasley) (describing efforts of prisoners to get staff to respond to a blue, unmoving
prisoner for 30 minutes); Ex. 21, Tr. vol. 22, 32:3-34:3 (Long) (fires are sometimes set by prisoners trying
to get medical attention, but staff do not even respond to every fire); Ex. 21, Tr. vol. 22, 66:18-68:9
(Hickman-Estes) (he drank cleaning chemicals in front of an officer in an attempt to get medical attention;
the officer “didn’t do anything,” left Mr. Hickman-Estes in his cell, and was later promoted).
14
   See, e.g., Ex. 26, Tr. vol. 27, 40:20-41:5 (LaMarre) (no documentation of urgency of referral to doctor);
ECF No. 799-1, at 8-11 (Stern 2018 Rpt.) (collecting cases of nurses’ failure to provide access to urgent
care to prisoners with symptoms of life-threatening conditions, such as stroke, seizure, heart attack, internal
bleeding, and blunt force trauma); Ex. 74, PTX-1501(a), at 10-17 (Stern 2016 Rpt.) (similar).
15
   See, e.g., ECF No. 799-1, at 4-5 (Stern 2018 Rpt.) (identifying risk posed by lack of access to urgent care
as to Patients 13, 23, 28, 50, 54, 65, 66, 67, and 68); Ex. 74, PTX-1501(a), at 5-6 (Stern 2016 Rpt.) (Patients
3, 7, 8, 15, 17, 18, 26, 27, 36, and 37); ECF No. 800-1, at 26-29 (LaMarre 2018 Rpt.) (Patients 1, 5, and
11); PTX-1505, at 23-25 (LaMarre 2016 Rpt.) (Patients 2 and 5).


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case, a man died after staff was alerted to the fact that he was unresponsive on his cell floor, and

staff did not initiate an emergency response for five hours.16 In another case, a man with a seizure

disorder died after his cellmate could not get staff to help him.17 And in another case, officers

walked back and forth past a choking prisoner, but ignored him; he collapsed and died.18

        Defendants have known of and ignored this risk for at least five years.19 Further,

Defendants left this evidence unrebutted at trial, and while EMCF’s Medical Director, Dr. Arnold,

submitted a declaration in 2018 purporting to attest to the quality of care at EMCF, the declaration

does not identify any steps taken to improve access to urgent care.20

        B.      Defendants Fail to Provide Plaintiffs Access to Episodic, or Non-Urgent, Care

        Episodic, or non-urgent, care includes any request for care that a prisoner submits through

the “sick call” system.21 Defendants admit that access to episodic, non-urgent care is an essential

component of adequate correctional health care services.22 Prisoners at EMCF have sought to

access episodic, non-urgent care for such serious medical needs as chest pain, staph infection, leg

swelling in a prisoner with heart disease, and loss of feeling in a prisoner with a history of strokes.23

        Defendants systematically fail to provide access to episodic care. First, there is no

confidential system for handling sick call requests, impeding access to care given that prisoners

will be reluctant to file requests for conditions that may be exposed to staff and other prisoners.24

Second, after submitting sick call requests, prisoners are subjected to “unacceptably long delays”



16
   Ex. 74, PTX-1501(a), at 6 (Stern 2016 Rpt.).
17
   ECF No. 799-1, at 5 (Stern 2018 Rpt.).
18
   Ex. 16, Tr. vol. 17, 105:17-106:17, 107:11-20 (Hill).
19
   See, e.g., supra n.6.
20
   See ECF No. 812-3 (Arnold Decl.).
21
   See, e.g., Ex. 19, Tr. vol. 20, 5:6-6:2 (Stern); ECF No. 799-1, at 5-6 (Stern 2018 Rpt.).
22
   Ex. 22, Tr. vol. 23, 60:24-61:9 (Perry).
23
   See, e.g., ECF No. 799-1, at 6-7 (Stern 2018 Rpt.).
24
   See, e.g., ECF No. 799-1, at 22-23 (Stern 2018 Rpt.); Ex. 19, Tr. vol. 20, 5:22-6:12 (Stern); Ex. 74, PTX-
1501(a), at 23 (Stern 2016 Rpt.).


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before receiving medical attention, often because of cancelled security escorts.25 And, once

prisoners do see medical staff, providers fail to appropriately respond to their conditions.26

        As a result, Plaintiffs face a substantial risk of serious harm that their episodic medical

needs will not be addressed.27 Defendants have been on notice since at least 2014 of barriers to

accessing episodic care.28 Indeed, Dr. Perry has admitted that security staff “constantly and

repeatedly refus[e] to bring inmates to clinics for scheduled sick call, dental, mental health and

chronic care appointments” and that the problem is “almost universal at EMCF.”29 She has also

admitted that EMCF has “difficulty with sick call, the process, and the inmates being seen with

sick call.”30 Defendants are aware, too, of a sick call backlog and that adherence to EMCF’s policy

of seeing prisoners for sick call within seven days of their request “has been a problem.”31

        Despite this knowledge, Defendants have not taken any steps to provide confidential means

to submit sick call requests, nor have they established that delays in access to episodic care have

25
   See, e.g., ECF No. 799-1, at 6-7, 31, 47 (Stern 2018 Rpt.) (noting two-month wait for prisoner reporting
chest pain, four-month wait for prisoner reporting staph infection, and dangerously long waits of several
days for prisoners reporting symptoms of heart failure and stroke; and also noting frequent sick call
appointment cancellations due to facility lockdowns and other custody-related reasons); ECF No. 800-1, at
12-15 (LaMarre 2018 Rpt.) (describing sick call appointment cancellations due to custody-related reasons);
Ex. 74, PTX-1501(a), at 7 (Stern 2016 Rpt.) (same); Ex. 19, Tr. vol. 20, 9:2-8 (Stern); Ex. 21, Tr. vol. 22,
71:16-72:14 (Hickman-Estes) (five-month wait for a replacement tooth after submitting numerous sick call
requests).
26
    See, e.g., ECF No. 799-1, at 6-7, 45-48 (Stern 2018 Rpt.) (repeated failures in care for prisoner
experiencing stroke symptoms); Ex. 74, PTX-1501(a), at 66 (Stern 2016 Rpt.) (same for prisoner with chest
pain).
27
   See, e.g., ECF No. 799-1, at 5-7 (Stern 2018 Rpt.) (identifying risk posed by lack of access to episodic
care for Patients 3, 4, 5, 10, 12, 13, 16, 25, 33, 35, 38, and 39); Ex. 74, PTX-1501(a), at 6-8 (Stern 2016
Rpt.) (Patients 5, 6, 11, 13, 26, 28, 31, 33, 34, 38, 39, 41, and 43); ECF No. 800-1, at 11-16 (LaMarre 2018
Rpt.) (Patients 5, 11, 14, and 17); PTX-1505, at 13-17 (LaMarre 2016 Rpt.) (Patients 2, 3, 4, 5, 7, and 8);
see also Ex. 74, PTX-1501(a), at 7 (Stern 2016 Rpt.) (lack of security escorts for medical purposes is
dangerous); ECF No. 800-1, at 11-12 (LaMarre 2018 Rpt.) (noting delayed processing for 44 percent of the
39 sick call requests evaluated by Ms. LaMarre, “expos[ing] all [prisoners] to a risk that severe medical
conditions may go unreviewed by medical staff and untreated for a long period of time”).
28
   See, e.g., supra n.6; Ex. 19, Tr. vol. 20, 12:13-15 (Stern).
29
   See Ex. 49, PTX-735 (Feb. 4, 2016 email); Ex. 22, Tr. vol. 23, 74:2-17 (Perry) (admitting writing email
in PTX-735).
30
   Ex. 22, Tr. vol. 23, 29:17-30:21 (Perry).
31
   Id.


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been resolved. Instead, Dr. Arnold merely states in his 2018 declaration that Defendants hired

three part-time nurses to improve sick call processing.32 But Defendants presented no evidence

that this step in fact improved access to care. And, as Dr. Arnold acknowledges, these new staff

“are in addition to what [Centurion’s] contract with MDOC requires,”33 meaning Defendants are

under no obligation to retain these staff after the conclusion of this case.

        C.       Defendants Fail to Provide Plaintiffs Adequate Access to Chronic Care

        Chronic care is treatment for chronic disease—such as diabetes, hypertension, seizures, or

asthma—that involves assessments scheduled for set intervals based on how well the disease is

managed, along with medications, routine testing, and disease education.34 Defendants admit that

access to chronic care is an essential component of adequate correctional health care services.35

        However, problems with chronic care at EMCF abound. Not all EMCF prisoners with

chronic conditions are enrolled in chronic care clinics.36 Moreover, the same security staff failures

that plague access to episodic care—delayed and cancelled appointments due to lack of security

escorts—prevent access to chronic care.37 And, medical staff at EMCF fail to schedule follow-up

appointments for chronic care patients, schedule the appointments at timely intervals, ensure that

the appointments in fact take place, and provide appropriate care at appointments.38 Each of these


32
   See ECF No. 812-3 ¶ 5 (Arnold Decl.).
33
   Id.
34
   See ECF No. 799-1, at 5-6 (Stern 2018 Rpt.).
35
   Ex. 22, Tr. vol. 23, 60:24-61:11 (Perry).
36
   See, e.g., Ex. 26, Tr. vol. 27, 66:19-67:12, 71:16-74:2 (LaMarre) (a proper chronic care clinic formally
enrolls patients when they arrive at the prison, and sees patients for follow-up one to three months later, but
EMCF’s chronic care clinic does not do so); PTX-1505 (LaMarre 2016 Rpt.) at 17 (two chronic disease
patients “had never been seen by a physician or nurse practitioner for chronic disease management” despite
having been at EMCF for one or two years).
37
   See Ex. 19, Tr. vol. 20, 9:2-8 (Stern); Ex. 74, PTX-1501(a), at 8-9 (Stern 2016 Rpt.); ECF No. 799-1, at
7-8 (Stern 2018 Rpt.).
38
   See, e.g., ECF No. 799-1, at 7 (Stern 2018 Rpt.) (failure to schedule chronic care appointments for patient
with severe diabetes led to a months-long gap in care; and despite later chronic care visits, the patient’s
“diabetes remain[ed] out of control” because medical staff did “little to bring his diabetes under control”);
ECF No. 800-1, at 31, 35 (LaMarre 2018 Rpt.) (noting that “[w]ith some exceptions, the majority of


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failings means patients with chronic, serious medical conditions do not receive timely care for

those conditions, placing EMCF prisoners at a substantial risk of serious harm.39

        Defendants are aware that chronic care is critical for preventing disease progression.40 And

Defendants have been on notice since at least 2014 of barriers to access to chronic care.41 But

Defendants have not rebutted the evidence of these persistent failings. Indeed, the sole response to

these failings in Dr. Arnold’s 2018 declaration is to recite the number of patients on the chronic

care caseload and the number of patients he sees on a daily basis—but he does not address the

foregoing failings, much less establish that Defendants have permanently resolved these systemic

problems.42

        D.       Defendants Fail to Provide Critical Medications to Plaintiffs

        Nearly all EMCF prisoners are prescribed medications, including for a range of serious

medical conditions, such as diabetes, hypertension, hypothyroidism, heart disease, and seizures,

and Defendants admit that access to medications is an essential component of adequate health care




provider examinations were not pertinent to the patient’s disease” and describing patient with “multiple
hypertensive emergencies requiring emergency department visits” who “was not adequately monitored and
treated for his severe hypertension”); Ex. 19, Tr. vol. 20, 6:13-8:12 (Stern) (describing patient who was not
seen for nearly ten months for his chronic lung disease, a “dangerous interval”); Ex. 26, Tr. vol. 27, 73:6-
12 (LaMarre) (describing abnormal lab reports that should have triggered a follow-up chronic care
appointment, but did not).
39
   See, e.g., ECF No. 799-1, at 7-8 (Stern 2018 Rpt.) (examples of patients with chronic diseases that, if left
unmonitored and untreated, could result in permanent organ damage, respiratory distress, or injury or death
from seizures, including Patients 18, 19, 21, 24, 25, 26, 27, 39, 43, 64, 65, 66, 67, and 69); Ex. 74, PTX-
1501(a), at 8-9 (Stern 2016 Rpt.) (examples of patients with chronic diseases that, if left unmonitored and
untreated, could result in heart attacks, stroke, respiratory distress, hospitalizations, or even death, including
Patients 2, 3, 4, 9, 16, 25, 38, and 41); ECF No. 800-1, at 30-35 (LaMarre 2018 Rpt.) (Patients 2, 6, 7, and
8); PTX-1505, at 17-23 (LaMarre 2016 Rpt.) (Patients 2, 3, 4, 6, 7, 13, and 18); Ex. 26, Tr. vol. 27, 71:25-
72:5 (LaMarre) (proper chronic care disease treatment must include regular clinical visits, and a physician
must be available between visits should the need arise).
40
   Ex. 22, Tr. vol. 23, 71:13-23 (Perry).
41
   See, e.g., supra n.6; Ex. 19, Tr. vol. 20, 12:13-15 (Stern); Ex. 49, PTX-735 (Feb. 4, 2016 email); Ex. 22,
Tr. vol. 23, 73:10-74:17 (Perry).
42
   See ECF No. 812-3 ¶ 11 (Arnold Decl.).


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services in a correctional setting.43 However, Defendants fail to ensure that EMCF prisoners have

access to medications at nearly every step in the medication administration process.

        First, medical staff at EMCF do not ensure that prescribed medications remain in stock,

preventing continuity of care.44 Second, nurses routinely fail to administer medications to

prisoners, and even when they do administer medications, they fail to do so properly.45 For

example, “pill call,” the twice-daily time for medication administration, takes place at random

hours, including when prisoners are sleeping, such that prisoners often do not receive their

medications or do not receive them at the prescribed time.46 Nurses also fail to adhere to generally

accepted standards for medication administration, such as performing oral cavity checks to ensure

that prisoners swallowed their medications, and fail to check identification to verify that the correct

prisoner received the correct medication.47 These failures increase the risk that a patient will not

receive the right medication, and that—particularly in a facility focused on patients with mental

illness, such as EMCF—patients will not take critically needed medication. Third, nurses fail to



43
   See, e.g., ECF No. 799-1, at 18 (Stern 2018 Rpt.); Ex. 51, PTX-887 (Feb. 2016 Centurion report); Ex.
22, Tr. vol. 23, 60:24-61:17; 88:19-89:2 (Perry).
44
   See, e.g., Ex. 16, Tr. vol. 17, 94:16-99:1 (Hill) (describing running out of epilepsy medication each month
because EMCF does not reorder it, causing him “murderous thoughts, suicidal thoughts, pains in [his] head,
[and] shaking,” the latter of which was visible at trial); Ex. 8, Tr. vol. 9, 95:23-96:23 (Pugh) (noting that
even when nurses identify that a medication is running low, they may not refill it before it runs out; when
he is out of his medications, which has occurred multiple times for up to three weeks, he is “in agony”); see
also Ex. 152, PTX-2867, at 91:6-13 (Townsend Dep. Tr.) (EMCF nurse admitting that being out of a
medication during pill call is “something that happens most of the times that [she does] pill call”).
45
   See, e.g., ECF No. 799-1, at 19 (Stern 2018 Rpt.) (showing a sample of medication administration delays
of up to 6.75 hours); ECF No. 800-1, at 19-20 (LaMarre 2018 Rpt.) (describing various problems, including
unsanitary practices and failure to document medication administration in real-time).
46
   See, e.g., ECF No. 799-1, at 19-21 (Stern 2018 Rpt.); Ex. 14, Tr. vol. 15, 89:10-90:6 (Mitchell)
(“morning” pill call occurs between 9 a.m. and 3 p.m. and “evening” pill call occurs between 10 p.m. and
3 a.m.); Ex. 7, Tr. vol. 8, 102:23-103:9 (Clemons) (sometimes pill call does not happen at all, and prisoners
are usually told that there are not enough nurses for pill call); Ex. 21, Tr. vol. 22, 53:22-54:5 (Hickman-
Estes) (if a prisoner is asleep or otherwise misses pill call, he simply does not receive his medication); Ex.
24, Tr. vol. 25, 6:24-7:14 (Campbell) (housing pod did not receive evening pill call because there was only
one pill call nurse working that night).
47
   PTX-1505, at 42-43 (LaMarre 2016 Rpt.).


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accurately document medication administration in prisoners’ Medication Administration Records

(“MARs”), resulting in a lack of critical information in the medical records—such as whether

prisoners actually received and took their medications, when, and in what dose.48

        Prisoners are thus routinely forced to go without prescribed medications,49 not only placing

them at substantial risk of serious harm, but also causing harm.50 Most notably, Dr. Stern found

that “each of the 6 patients who died in 2018 was subject to rampant missed medications,” that

“medication administration failures may have even contributed to the patient’s death” in three of

those cases, and that those failures likely played a causal role in at least two of the deaths.51

        Defendants have been aware of these failings for years, including from Plaintiffs’ expert

reports;52 Centurion’s CQI reports, which found that medication administration at EMCF failed to

meet minimum compliance standards month after month after month;53 and prisoners’

complaints.54 Yet Defendants have not remedied the failings in medication administration at

48
   See, e.g., PTX-1505, at 43-44 (LaMarre 2016 Rpt.) (noting “widespread problems” in MARs, including
failures to record whether medications were administered, incorrect transcription of new medication orders,
and even false recording of medication administration).
49
   See, e.g., Ex. 74, PTX-1501(a), at 18 (Stern 2016 Rpt.) (describing patient who did not receive seizure
medications on numerous occasions, including for an entire month); Ex. 75, PTX-1501(b), at 12 (Stern
2014 Rpt.) (describing a patient who in one month did not receive 23 doses of one seizure medication and
22 doses of another and suffered a seizure on the first of the following month); Ex. 10, Tr. vol. 11, 87:21-
88:7 (Grogan) (he misses medications for two to three days when they are out of stock, which causes him
anxiety).
50
   See, e.g., ECF No. 799-1, at 16-21 (Stern 2018 Rpt.) (identifying risk posed by medication administration
failures for Patients 58, 64, 68, 69, and 70); Ex. 74, PTX-1501(a), at 12-13 (Stern 2016 Rpt.) (Patients 8,
18, and 22); ECF No. 800-1, at 17-20 (LaMarre 2018 Rpt.) (Patient 6); PTX-1505, at 42-43 (LaMarre 2016
Rpt.) (Patients 1, 2, 3, 7, 9, 10, 11, 13, and 18).
51
   ECF No. 799-1, at 18-19 (Stern 2018 Rpt.).
52
   See, e.g., supra n.6.
53
   See Ex. 36, PTX-440 (Dec. 2016 CQI); Ex. 37, PTX-441 (Nov. 2016 CQI); Ex. 52, PTX-442 (Oct. 2016
CQI); Ex. 65, PTX-446 (July 2016 CQI); Ex. 79, PTX-450 (Sept. 2016 CQI); Ex. 82, PTX-451 (Aug. 2016
CQI); Ex. 155, JTX-70 (Jan. 2017 CQI); Ex. 156, JTX-71 (Feb. 2017 CQI); Ex. 153, JTX-72 (Mar. 2017
CQI); Ex. 159, JTX-73 (Apr. 2017 CQI); Ex. 157, JTX-74 (May 2017 CQI); Ex. 158, JTX-75 (Jul. 2017
CQI); Ex. 160, JTX-76 (July 2017 CQI); Ex. 161, JTX-77 (Oct. 2017 CQI); Ex. 162, JTX-78 (Nov. 2017
CQI); Ex. 163, JTX-79 (Dec. 2017 CQI); Ex. 164, JTX-145 (Aug. 2017 CQI); Ex. 165, JTX-146 (Sept.
2017 CQI).
54
   See, e.g., Ex. 8, Tr. vol. 9, 54:24-55:7, 56:1-8, 56:17-23 (Beasley) (noting administrative remedy program
(“ARP”) grievance regarding frequent failure to receive his insulin, which put him at risk for a diabetic


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EMCF—indeed, in the months since trial, medication administration at EMCF has worsened, with

Dr. Stern’s finding that, in 147 of the 173 MARs he reviewed from October 2018, prisoners “had

not been given a very significant portion . . . of one or more medically necessary medications to

treat a serious disease,” with another 27 of the records also reflecting missed doses.55

        Dr. Arnold claims that, despite these records, EMCF has in fact taken steps to improve its

compliance with medication administration standards since trial.56 But the handful of purported

improvements do not address the vast majority of the foregoing concerns, and Defendants provide

no evidence that any there has been any actual improvement in medication administration. While

Dr. Arnold claims that Centurion’s audits of medication administration improved from 39 percent

in October 2017 to 93 percent compliance in October 2018, he does not provide any information

as to what metrics were used, how they were measured, by whom, or whether those metrics are at

all responsive to the foregoing failings, much less indicative of enduring improvements.57 Further,

Dr. Arnold’s declaration cannot be squared with the medication administration failures

documented by Dr. Stern and Ms. LaMarre in their 2018 reports.58 Instead, the paucity of steps

Defendants have, by their own account, taken to improve medication administration at EMCF, and

Defendants’ failure to provide any evidence supporting the alleged improvements in medication

administration, are themselves indicative of Defendants’ indifference to this critical deficiency.




coma and death, and the baffling response to Mr. Beasley’s ARP that “the relief is beyond the power of
ARP to grant”); Ex. 8, Tr. vol. 9, 96:24-97:11 (Pugh) (prisoners fill out medical request forms to notify
staff when their medication has run out); Ex. 24, Tr. vol. 25, 10:9-11:7 (Campbell) (same).
55
   ECF No. 799-1, at 16 (Stern 2018 Rpt.) (emphasis added).
56
   ECF No. 812-3 ¶¶ 13-17 (Arnold Decl.).
57
   Id. ¶ 17.
58
   Compare id. ¶¶ 14-15 (describing marginal changes to EMCF’s practices with respect to psychotropic
medications and record-keeping); with ECF No. 799-1, at 16-21 (Stern 2018 Rpt.) (describing persistent
problems with nurses’ failure to administer medication orders, to deliver medications at the proper time of
day, to verify that medications are taken by the right patient, and to document medication administration);
and ECF No. 800-1, at 17-20 (LaMarre 2018 Rpt.) (describing similar failings).


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        E.       Defendants Fail to Meaningfully Review and Address Causes of Prisoner Deaths

        The mortality reviews—or assessments of the causes of prisoner deaths—performed at

EMCF are “cursory” and “ignore serious errors.”59 For example, the mortality reviews do not

include autopsies or other clinical reports, do not identify significant deficiencies in care, fail to

assess unacceptable delays in response time by medical staff, and fail to recommend corrective

action in the rare instance a deficiency is identified.60 As a result of the lack of meaningful

mortality review, Defendants cannot identify potential reforms to prevent future deaths.61

        Defendants are aware of the inadequacy of EMCF’s mortality reviews.62 But Defendants

have proven indifferent to the risk they pose to prisoners. For example, Dr. Arnold asserts that

“there was not any different treatment or care that could have been provided to each of the patients

[who died in 2018] that would have prevented their deaths.”63 That self-serving conclusion is

belied by the pattern of documented failures by medical staff preceding those deaths, and

underscores the need for meaningful mortality reviews at EMCF.64

        F.       Defendants Fail to Perform Welfare Checks

        Because segregation units, which house prisoners in solitary confinement, “are a high-risk

environment resulting in a disproportionately high rate of morbidity and mortality due to the

impact of injuries often associated with placement in isolation,” EMCF staff are required to

conduct welfare checks in these units daily.65 Such checks are required to permit prisoners in these

units the opportunity to file sick call requests, and to permit EMCF staff the chance to monitor the

59
   ECF No. 799-1, at 15 (Stern 2018 Rpt.).
60
   See, e.g., id. at 15-16 (describing Dr. Arnold’s failure to identify areas of concern in five of six deaths).
61
   Id. at 14.
62
   See, e.g., supra n.6; Ex. 75, PTX-1501(b), at 3 (Stern 2014 Rpt.) (“In properly functioning health care
systems, the leadership understands that it has a non-delegable duty to recognize and address these errors
to prevent recurrences. Based on my review of this case, EMCF is incapable of doing so.”).
63
   ECF No. 812-3 ¶ 20 (Arnold Decl.).
64
   See ECF No. 799-1, at 1, 14-16 (Stern 2018 Rpt.).
65
   See, e.g., ECF No. 799-1, at 21-22 (Stern 2018 Rpt.).


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onset of serious medical and mental health conditions, including self-harm.66 Nevertheless, EMCF

medical staff fail to conduct such checks, and instead monitor prisoners in isolation only

infrequently and irregularly, exposing prisoners to a substantial risk of serious harm.67 Defendants

have been aware of this failing since at least 2011, when Ms. LaMarre identified the problem in

her first report.68 Further, Defendants’ own 2015 audit and an audit performed by Centurion in

2017 reported that these checks were not being conducted,69 and yet the problem remains.70

        G.      Defendants Fail to Provide Plaintiffs Adequate Access to Specialty Services

        Specialty services include medical care beyond that provided by a primary care provider,

such as cardiology, ophthalmology, and orthopedics.71 Defendants admit that access to specialty

services is an essential component of adequate correctional health care services.72 Yet Defendants

fail to provide timely access to specialty care and to timely implement specialist recommendations,

placing prisoners at substantial risk of serious harm.73 Defendants have known since at least 2014


66
   See infra Section III.C.
67
   See, e.g., ECF No. 799-1, at 21-22 (Stern 2018 Rpt.); Ex. 74, PTX-1501(a), at 51, 67 (Stern 2016 Rpt.).
68
   See PTX-1505, at Ex. 2, 8 (LaMarre 2011 Rpt.).
69
   See, e.g., PTX-1505, at 46 (LaMarre 2016 Rpt.) (“in January 2015, MDOC performed a compliance audit,
the results of which noted that medical was not documenting daily rounds in segregation” and six months
later, “Centurion also noted zero compliance with documentation of medical rounds in segregation”); Ex.
22, Tr. vol. 23, 68:9-70:25 (Perry) (admitting that a February 2017 Centurion audit stated that segregation
rounds were not being performed routinely, there was a shortage of custody staff to escort nurses on such
rounds, and nurses were fabricating segregation logs, which is illegal); Ex. 102, PTX-2176 (2017 Centurion
report).
70
   See, e.g., ECF 799-1, at 22 (Stern 2018 Rpt.).
71
   PTX-1505, at 25 (LaMarre 2016 Rpt.); Ex. 26, Tr. vol. 27, 76:3-8 (LaMarre).
72
   Ex. 22, Tr. vol. 23, 60:24-61:15 (Perry).
73
   See, e.g., ECF No. 800-1, at 36-38 (LaMarre 2018 Rpt.) (describing cases in which Dr. Arnold failed to
follow the recommendations of specialty physicians, including a case in which a urologist’s
recommendation for a prostate specific antigen test was ignored, placing the patient at risk of undiagnosed
and untreated prostate cancer); Ex. 26, Tr. vol. 27, 76:9-19 (LaMarre) (noting that EMCF staff did not get
reports from specialists or did not implement specialists’ recommendations); PTX-1505, at 26-27 (LaMarre
2016 Rpt.) (providing examples of patients who received specialty care but no follow-up from an EMCF
doctor); Ex. 24, Tr. vol. 25, 16:2-16 (Campbell) (referred to neurologist in August 2017, but had still not
been seen by a neurologist in March 2018); Ex. 19, Tr. vol. 20, 106:20-107:5 (Stern) (failure to provide
timely specialty care where patient’s symptoms suggested his eyesight was at risk); see also Ex. 26, Tr. vol.
27, 67:13-68:10 (LaMarre) (lack of access to medical records led to patients not receiving follow-up care
after specialty services).


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of the risk of harm caused by the lack of access to specialty care, but the problem persists.74

        H.       Defendants Fail to Deliver Constitutionally Adequate Care to Plaintiffs

        EMCF medical staff consistently fail to provide care for EMCF prisoners’ serious medical

needs that is consistent with what is expected of a health care provider.75 In his 2018 report alone,

Dr. Stern identified more than two dozen instances of dangerously inadequate care by EMCF’s

licensed practical nurses, registered nurses, nurse practitioners, and physician.76 In addition,

EMCF medical staff routinely fail to have clinical encounters with patients in the medical unit,

who required enhanced treatment, which Defendants admit puts patients at risk.77 Even when

providers do see patients in the medical unit, they provide “seriously inadequate care.”78 EMCF

medical staff also practice outside the scope of their licensure and make clinically unjustifiable

decisions.79 Each of these practices places patients at substantial risk of serious harm.80

        Defendants have been aware of these problems for years.81 Yet, they allowed a doctor

whose practice they knew to be “persistently lacking and not acceptable” to treat patients at EMCF




74
   See PTX-1505, at 25-26 (LaMarre 2014 Rpt.) (failed access to specialty services in 11 out of 18 records).
75
   See, e.g., ECF No. 799-1, at 8-14 (Stern 2018 Rpt.) (summarizing failures in care for prisoners suffering
from cardiac events, seizures, choking, loss of consciousness, blunt force trauma, dangerously low blood
pressure, and dangerously high blood sugar, with the inadequate care likely contributing to, and potentially
causing, multiple deaths); Ex. 74, PTX-1501(a), at 10-18 (Stern 2016 Rpt.) (similar).
76
   See Ex. 74, PTX-1501(a), at 10-18 (Stern 2016 Rpt.).
77
   Ex. 22, Tr. vol. 23, 83:14-84:5 (Perry).
78
   ECF No. 800-1, at 23 (LaMarre 2018 Rpt.).
79
   Ex. 19, Tr. vol. 20, 14:1-15:5, 28:6-29:15 (Stern); Ex. 26, Tr. vol. 27, 40:6-13 (LaMarre); ECF No. 799-
1, at 8-14 (Stern 2018 Rpt.); Ex. 74, PTX-1501(a), at 10-18 (Stern 2016 Rpt.).
80
   See, e.g., ECF No. 799-1, at 8-14 (Stern 2018 Rpt.) (identifying risk posed by such failings in care for
Patients 6, 8, 10, 12, 13, 15, 16, 19, 20, 24, 28, 42, 64, 65, 66, 67, 68, 69); Ex. 74, PTX-1501(a), at 10-17
(Stern 2016 Rpt.) (6, 7, 8, 16, 17, 19, 20, 22, 23, 24, 26, 27, 28, 30, 31, 33, 34, 38, 41, 42, 43, 45, 46, 47,
48, and 49); ECF No. 800-1, at 21-25 (LaMarre 2018 Rpt.) (Patient 11); PTX-1505, at 27-37 (LaMarre
2016 Rpt.) (Patients 2, 3, 6, 19, and 21); Ex. 74, PTX-1501(a), at 11 (Stern 2016 Rpt.) (“Health care delivery
by health care providers at EMCF has consistently fallen to a dangerously deficient state. This problem was
described previously in my first report and two reports by Ms. LaMarre, and continues unabated.”).
81
   See supra n.6.


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for years, a stark indictment of Defendant’s oversight of medical care at EMCF.82 Moreover, while

EMCF hired a new physician—Dr. Arnold—in late 2017, he testified at trial that he does not

supervise the nursing staff—and he therefore cannot speak to or correct the failings in their

practice.83 Further, Dr. Stern and Ms. LaMarre both identified serious failings in Dr. Arnold’s own

care of patients, establishing that despite Dr. Arnold’s hiring, these problems persist.84

        I.      Remedies

        Ms. LaMarre primarily recommends that a qualified health care professional be appointed

to develop measurable standards for assessing the adequacy of medical care at EMCF and to assess

EMCF’s compliance with those standards.85 Ms. LaMarre also recommends that discrete, concrete

steps be taken to remedy the foregoing failings—such as ensuring sufficient custody staffing to

permit timely escorts to medical appointments; ensuring sufficient medical and custody staffing to

permit the timely completion of medication administration; ensuring that newly arrived chronic

disease patients are seen by medical staff within 30 days; addressing and implementing hospital

and specialty service recommendations in a timely manner; revising policies and adopting

practices to align care at EMCF with National Commission on Correctional Health Care standards;

and developing and implementing strategies to correct root causes of systemic issues.86

        Dr. Stern joins Ms. LaMarre’s recommendation that an independent health care monitor

develop performance measures and assess EMCF’s compliance with those measures.87 In addition,

Dr. Stern recommends that Defendants’ contract with their health care vendor be amended to



82
   Ex. 48, PTX-728 (Sept. 2, 2015 email); see also Ex. 22, Tr. vol. 23, 51:11-53:6, 55:7-60:5 (Perry); Ex.
26, Tr. vol. 27, 96:9-97:11 (LaMarre).
83
   See Ex. 33, Tr. vol. 35, 30:1-31:7 (Arnold).
84
   See, e.g., ECF No. 799-1, at 11-13 (Stern 2018 Rpt.); ECF No. 800-1, at 31 (LaMarre 2018 Rpt.).
85
   ECF No. 800-1, at 50-52 (LaMarre 2018 Rpt.).
86
   Id.
87
   ECF No. 799-1, at 26-27 (Stern 2018 Rpt.).


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require the contractor’s compliance with those same measures.88 Dr. Stern also recommends that

Defendants conduct a staffing analysis to determine the adequacy of health care staffing at EMCF

and, likely, a salary analysis to determine EMCF’s competitiveness in hiring in Mississippi.89

Finally, Dr. Stern also recommends several discrete remedies, such as installing and responding to

panic buttons in each cell and providing confidential means of submitting sick call requests.90

II.     Claim Two—Mental Health Care

        EMCF is designated to hold the most seriously mentally ill prisoners in the state.91 Its

mental health care system is inadequate to meet their mental health needs.92 The deficiencies in

EMCF’s mental health care system, singly and in combination, cause unnecessary and avoidable

suffering.93 The resulting harm is substantial and systemic. Many prisoners with serious mental

illness remain in psychotic, depressed, manic, and potentially assaultive conditions because they

are not adequately treated or transferred to more intensive treatment programs or psychiatric

hospitals.94

        Bruce Gage, M.D. testified for Plaintiffs. The Court qualified Dr. Gage as an expert in the

field of correctional mental health care.95 Dr. Gage has over 30 years of experience in the field.96



88
   Id. at 27.
89
   Id.
90
   See, e.g., id. at 5, 23.
91
   E.g., Ex. 25, Tr. vol. 26, 35:14-20 (Gage).
92
   See generally Tr. vols. 26, 29 (Gage); Ex. 76, PTX-1504 (Gage 2016 Rpt.); ECF No. 807-2 (Gage 2018
Rpt.).
93
   Id. In his 2016 report, Dr. Gage found dangerously inadequate treatment for 20 of the 21 patients whose
records he reviewed, resulting in serious clinical deterioration and associated medical complications
(including death) for patients suffering from schizophrenia, psychotic disorders, depression, anxiety
disorders, cognitive disorders, bipolar disorder, and psychiatric illness associated with self-injurious
behavior, among other conditions. See Ex. 76, PTX-1504, App. 2 (Gage 2016 Rpt.) (record reviews); see
also ECF No. 807-2, App. 1 (Gage 2018 Rpt.) (record reviews) (inadequate treatment and similar findings
for 26 of the 30 patient records reviewed by Dr. Gage in 2018).
94
   Id.; Ex. 25, Tr. vol. 26, 35:21-36:17 (Gage).
95
   Ex. 25, Tr. vol. 26, 33:14-15 (Gage).
96
   Ex. 72, PTX-1496 (Gage CV); Ex. 25, Tr. vol. 26, 20:2-22:24 (Gage).


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Defendants did not present expert testimony regarding EMCF’s mental health care system, so Dr.

Gage’s opinions are unrebutted, as are his findings as to the patients whose care he reviewed.

        Defendants are aware of the pervasive and longstanding deficiencies in EMCF’s mental

health system from expert reports submitted in 2014, 2016, and 2018 in this case, a 2011 report on

mental health services by Dr. Terry Kupers, their own CQI reports and internal reviews, and the

medical records of EMCF patients.97

        A.      Defendants Fail to Perform Adequate Intake Screenings for Mentally Ill Prisoners

        Intake screenings are important to identify those at imminent risk of harm to themselves or

others due to mental illness, to identify patients in need of mental health treatment, and to continue

current treatment.98 EMCF has an inadequate intake process that fails to promptly and reliably

detect patients with mental health needs or ensure continuity of their treatment.99

        EMCF does not conduct admission intakes to the MDOC system; prisoners are transferred

there from other facilities. As such, a great deal of information should be available to the EMCF

intake team via the patient’s existing medical record. However, EMCF staff does not consistently

review the existing record as part of intake. Instead, they rely on patient self-reports, which leads



97
   See generally Ex. 76, PTX-1504 (Gage 2016 Rpt.); ECF No. 807-2 (Gage 2018 Rpt.); see Ex. 25, Tr. vol.
26, 43:22-44:2 (Gage); Ex. 22, Tr. vol. 23, 5:13-11:22 (Perry) (admitting she read Dr. Kupers’ 2011 report
and Dr. Gage’s expert report); Ex. 22, Tr. vol. 23, 21:10-13; 28:20:29:2 (Perry) (admitting she reviewed
2016-2017 internal audits and quality improvement studies on mental health care); Ex. 24, Tr. vol. 25, 72:4-
74:23 (Hall) (admitting she is aware of claims in this case). Defendants are aware that the EMCF population
needs mental health treatment because it is the designated facility for seriously mentally ill prisoners. Ex.
22, Tr. vol. 23, 14:2-17:7 (Perry) (admitting she is aware that EMCF is the flagship mental health MDOC
facility and that over 75 percent of EMCF prisoners are on psychotropic medications). Defendants’ own
data show many incidents and trips to the hospital because of self-injury and violence by mentally ill
prisoners. Ex. 76, PTX-1504, at 7 (Gage 2016 Rpt.). Further, it is well-known that mental illness is
associated with suicide, self-harm, and danger to others, especially when the mentally ill are in a
decompensated (acutely ill or untreated) state. Failure to manage and treat this population is known to be
associated with harmful outcomes. Id.
98
   Ex. 25, Tr. vol. 26, 55:2-14 (Gage); ECF No. 807-2, at 8-10 (Gage 2018 Rpt.).
99
   Ex. 76, PTX-1504, at 56-57 (Gage 2016 Rpt.); ECF No. 807-2, at 6, 8-10 (Gage 2018 Rpt.); Ex. 25, Tr.
vol. 26, 46:24-49:6, 54:24-58:17, 73:11-81:20 (Gage).


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staff to miss critical clinical information.100 The mental health intake screening at EMCF is also

inadequate, often inaccurate and not standardized.101 As a result, seriously mentally ill patients do

not receive adequate and timely treatment, or their treatment is disrupted, causing clinical

deterioration.102

        Defendants did not rebut Plaintiffs’ evidence as to the inadequate intake process. EMCF

psychiatric nurse practitioner Evelyn Dunn testified that every prisoner is initially screened at the

Central Mississippi Correctional Facility (“CMCF”) and then again on arrival at EMCF, and that

prisoners at a level of care (“LOC”) C, D, or E, representing higher acuity of illness, are seen by

mental health staff and put on the EMCF caseload.103 Steven Bonner, M.D, EMCF’s chief

psychiatrist, provided the same evidence.104 However Plaintiffs do not dispute that every patient

receives an intake screening at CMCF and another screening at EMCF—the problem is that these

screenings are inadequate and place prisoners at a risk of harm, a fact that Defendants did not

rebut. Further, though Ms. Dunn testified that the mental health screening at EMCF involves a

suicide risk assessment,105 the Suicide Potential Screening form that is used irregularly during

EMCF screenings does not constitute adequate intake, as it does not capture other aspects of mental

illness that represent potential risks, including potential danger to others.106



100
    Ex. 76, PTX-1504, at 56 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 55:22-56:13 (Gage); ECF No. 807-2, at
10 (Gage 2018 Rpt.) (2018 intake screens based on self-reports, not on review of existing treatment records,
resulting in inaccurate intake, as seen with Patients 4, and 5).
101
    ECF No. 807-2, at 10 (Gage 2018 Rpt.) (“Nursing and [Mental Health Professional] screens are
unreliable, often containing erroneous information or lacking critical information.”).
102
    See, e.g., Ex. 76, PTX-1504, at 57, App 2 (Gage 2016 Rpt.) App. 2 (noting inadequate and inaccurate
screenings resulting in delayed and inadequate treatment for Patients 2, 4, 5, 8, 9, 16, 23, 24, 25 and 38);
Ex. 25, Tr. vol. 26, 58:2-6; 73:16-81:20 (Gage); ECF No. 807-2, at 8, App. 1 (Gage 2018 Rpt.) (“every
[2018] medical record that had an intake showed deficiencies,” including for Patients 2, 4, 5, 23, 24, and
25).
103
    Ex. 32, Tr. vol. 34, 74:20-75:4 (Dunn).
104
    ECF No. 812-1, at 9 (Bonner Decl.).
105
    Ex. 32, Tr. vol. 34, 76:16-77:14 (Dunn).
106
    Ex. 76, PTX-1504, at 57 (Gage 2016 Rpt.).


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        B.      Defendants Provide Inadequate Assessments and Treatment Plans

        Assessments and treatment plans are critical aspects of EMCF’s mental health care system:

without an adequate assessment, Defendants cannot know a person’s mental health treatment

needs.107 Without an individualized treatment plan based on such an assessment, that person cannot

be given proper treatment.108 But EMCF provides inadequate assessments and treatment

planning.109 Defendants know there are problems in this area.110 As a result, Defendants place

Plaintiffs at a risk of harm, and have caused actual harm in many cases.111

        The contents of a proper assessment are standardized in the field. An assessment should

typically include the patient’s chief compliant, history of present illness, social and family history,

psychiatric and medical history (including appropriate laboratory and ancillary studies), chemical

dependency history, mental status examination, diagnosis, and a formulation that specifies what

the person's needs are. From the assessment, a treatment plan is written.112

        By policy, all patients admitted to the mental health caseload at EMCF should receive a

treatment plan derived from such an assessment.113 A treatment plan should be specific to the

individual patient.114 It should contain long- and short-term goals to address symptoms and

treatment compliance and include treatment that will be rendered by each treatment team member,




107
    ECF No. 807-2, at 11 (Gage 2018 Rpt.); Ex. 25, Tr. vol. 26, 64:22-65:18 (Gage).
108
    Ex. 25, Tr. vol. 26, 58:22-59:24 (Gage); Ex. 76, PTX-1504, at 57 (Gage 2016 Rpt.); PTX-2058, at 254-
56 (Policy G-02).
109
    See ECF No. 807-2, at 6, 10-15 (Gage 2018 Rpt.); Ex. 25, Tr. vol. 26, 39:2-16 (Gage).
110
     Ex. 154, JTX-68, at 26-29 (Dec. 2017 audit) (noting problems with treatment plan interventions,
discharge criteria, non-compliance with treatment timelines, and lack of documentation of treatment
progress).
111
    Ex. 76, PTX-1504 at 57-58, 64 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 39:2-16, 46:24-50:14, 58:22-72:25,
77:3-18, 84:16-85:19 (Gage); ECF No. 807-2, at 11-15, App. 1 (Gage 2018 Rpt.) (Patients 2, 3, 5, 7, 12,
16, 20, 23, 25, 28, and 29).
112
    Ex. 76, PTX-1504, at 58 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 58:22-59:19 (Gage).
113
    Ex. 98, PTX-2058, at 275-76 (Policy G-04c).
114
    Id.


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as well as outcome measures to assess progress towards each treatment goal.115

        However, at EMCF, assessments and treatment plans are uniformly poor or absent.116

Treatment plans at EMCF are generic and inadequate in almost all instances.117 They almost

universally lack any patient specificity: they fail to consistently identify symptoms targeted for

treatment, set measurable goals, specify individualized interventions, address non-compliance, or

set compliance measures.118 In many cases, treatment plans are simply absent or not done at the

intervals specified by policy.119 In Dr. Gage’s 2018 review, a quarter of the mental health patients

reviewed had no treatment plans whatsoever.120 Necessary testing is also not done, though there

are EMCF patients with cognitive and other impairments who require such testing.121

        Patients may be seen multiple times over weeks and months by multiple staff, but these

contacts do not constitute adequate assessments because Mental Health Professionals (“MHPs”),

who make up the bulk of mental health staff, make no effort to engage the patient in treatment,

assess the patient, or develop treatment plans.122 Instead, “MHP documentation [is] repetitive,

inaccurate, and unreliable.”123 In some cases, different patients have identical treatment plans, even

though the odds of two patients appropriately having identical plans is virtually zero.124 The



115
    Ex. 25, Tr. vol. 26, 64:16-65:7 (Gage).
116
    Ex. 76, PTX-1504, at 58 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 62:8-11 (Gage); ECF No. 807-2 at 6, 10-
15 (Gage 2018 Rpt.).
117
    ECF No. 807-2, at 13-14 (Gage 2018 Rpt.).
118
    Ex. 25, Tr. vol. 26, 67:14-25, 69:20-25, 70:1-16 (Gage); ECF No. 807-2, at 14-15 (Gage 2018 Rpt.).
119
    ECF No. 807-2, at 15 (Gage 2018 Rpt.) (showing only 36 percent of caseload patients had a treatment
plan completed in 2018); Ex. 76, PTX-1504, at 59-60 (Gage 2016 Rpt.).
120
    ECF No. 807-2, at 11-12, 13 (patients 5, 7, 9, 15, 16, 17, 24, and 26 had no plans whatsoever).
121
    Ex. 25, Tr. vol. 26, 61:11-62:7 (Gage); Ex. 76, PTX-1504, at 58, App. 2 (2016 Gage Rpt.) (Patients 4,
6, 7, 13 17, 19, and 22); ECF No. 807-2, at 11, App. 1 (Gage 2018 Rpt.) (Patients 2, 3, 5, 12, 16, 23, 28,
29); PTX 2058, at 280-82 (Policy G-04f).
122
    Ex. 25, Tr. vol. 26, 39:2-16 (Gage).
123
    ECF No. 807-2, at 11 (Gage 2018 Rpt.).
124
    See, e.g., Ex. 25, Tr. vol. 26, 70:17-72:17, 76:2-25 (Gage) (identifying treatment plans for different
patients that are “word-for-word identical”); compare Ex. 88, PTX-1855 (excerpt) (patient treatment plan)
with Ex. 89, PTX-1876 (excerpt) (identical treatment plan) and Ex. 93, PTX-1914 (excerpt) (same);


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treatment plans also fail to address progress or lack of progress in treatment.125 The risks created

by these deficiencies are evident from many specific examples seen in EMCF records, placing

prisoners at a substantial risk of harm and in many cases causing actual harm.126

        Defendants did not present credible evidence that they complete adequate assessments or

devise adequate treatment plans for EMCF patients. Ms. Dunn testified that each prisoner on the

mental health caseload has a mental health treatment plan, devised by a nurse practitioner or

psychiatrist in conjunction with the prisoner.127 Ms. Dunn did not testify as to the quality of those

plans, and did not dispute the substantial evidence presented by Plaintiffs that they are lacking.

Defendants’ own internal reviews confirm that assessments and treatment plans are substandard

or absent.128 Dr. Bonner acknowledges there was a problem of patients not having treatment plans

that EMCF has tried to rectify since June 2018, and asserts that now 18 percent of patients do not




compare Ex. 90, PTX-1882 (excerpt) (patient treatment plan) with Ex. 94, PTX-1919 (excerpt) (identical
treatment plan).
125
    Ex. 76, PTX-1504, at 64 (Gage 2016 Rpt.); ECF No. 807-2, at 14 (Gage 2018 Rpt.) (finding “no evidence
of charting on treatment plan goals” in 2018).
126
    See, e.g. Ex. 76, PTX-1504, at App. 2, 24 (Gage 2016 Rpt.) (despite history of manic and psychotic
behavior and stating that “he was God,” Patient 9’s treatment plan was “Client will continue to be
monitored;” plan had no treatment goals, or measurable targets other than he was to “take his pills daily.”
His subsequent medications refusals were not addressed, and inadequate assessment “almost certainly
contributed to his deterioration and placement” in segregation. Id.at 26.); ECF No. 807-2, at 58 (Gage 2018
Rpt.) (inadequate assessment and no treatment plan for Patient 2, a schizophrenic with history of self-injury
who consequently moved between isolation in the medical unit and segregation without consideration of
his underlying illness or ongoing assaultive and self-injurious behavior), 70 (inadequate assessment of
Patient 5 to determine the potential causes of his impulse control problems and mood instability, and no
treatment plan to address symptoms or repeated self-injury; patient eventually placed in segregation), 72-
74 (Patient 7 was never provided an adequate assessment or treatment plan in response to his paranoid
delusions and poor insight and judgment caused by his bipolar disorder and head trauma; contraindicated
medication prescribed due to lack of full assessment; clinical deterioration not addressed via treatment
plan).
127
    Ex. 32, Tr. vol. 34, 74:20-75:25 (Dunn).
128
    See Ex. 154, JTX-68 (Dec. 2017 audit) (40 percent of EMCF patients did not have a treatment plan; 50
percent did not have treatment plans indicating the level of functioning on the patient; 100 percent failed to
have progress notes in their medical records that reflect goals of the treatment plans, or progress towards
those goals, and concluding the plans “need significant improvement”)


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have treatment plans.129 Defendants admit this level of non-compliance is unacceptable.130 Dr.

Bonner also did not comment on plan quality, a fundamental problem at EMCF.

        C.       Defendants Provide Inadequate Care for Mental Health Crises

        Crisis care consists of mental health staff’s immediate response to a prisoner’s mental

health crisis, as well as assessment and interventions to address the nature of the crisis.131 Adequate

crisis care is essential at EMCF because its population of seriously mentally ill prisoners are at a

heightened risk of crisis.132 The chaotic conditions at EMCF, coupled with the lack of treatment,

further increase that risk of crisis.133 Despite its importance, EMCF provides inadequate crisis care.

Crisis responses are limited or absent, crisis plans are absent or not followed, and follow-up after

a crisis is lacking. These flaws place EMCF patients at an unreasonable risk of harm.134

        Defendants know that mental health crisis services “should include at a minimum: a

structured assessment of patient’s current risk of self-harm, violence, and psychiatric

decompensation; a formal suicide risk assessment when clinically indicated; an individualized

crisis treatment plan; daily behavioral health interventions for patients on suicide watch and per

crisis treatment plan for patients on psychiatric observation; and an assessment of need for higher




129
    ECF No. 812-1, at 10 (Bonner Decl.).
130
    Ex. 23, Tr. vol. 24, 70:6-71:2 (Perry) (admits that she would expect there to be 90 percent and 100
percent scores in the CQI reports, because they measure basic requirements of health care at EMCF and
Centurion should be providing all of the services that are measured). Dr. Bonner does not address whether
the treatment plans include all necessary elements, a problem both Dr. Gage and Defendants themselves
identify. Ex. 154, JTX-68 (Dec. 2017 audit) (“Improvement in the content and quality of treatment plans is
needed.”); ECF No. 807-2 at 13 (“treatment plans remained very generic and nonspecific; none were
adequate.”)).
131
    Ex. 25, Tr. vol. 26, 92:20-24 (Gage).
132
    Ex. 25, Tr. vol. 26, 93:14-20 (Gage).
133
    Ex. 28, Tr. vol. 29, 42:9-17 (Gage); ECF No. 807-2, at 15 (Gage 2018 Rpt.) (“lack of sufficient structured
treatment contributes to the prisoner population deteriorating to the point of being in crisis or manufacturing
a crisis . . . in order to secure . . contact with staff”).
134
    Ex. 25, Tr. vol. 26, 93:14-20, 94:12-95:25, 97:4-98:20, 137:20-138:19 (Gage); Ex. 28, Tr. vol. 29, 5:10-
6:18 (Gage); ECF No. 807-2, at 15-17, App. 1 (Gage 2018 Rpt.) (Patients 2, 4, 5, 12, 18, 20, 27, 29).


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level of care if suicide watch or psychiatric observation status continues for more than 72 hours.”135

At EMCF, Defendants fall short in every regard.136

        Crisis response at EMCF is substantially deficient in terms of access, sufficiency of

assessment, and service delivery. EMCF crisis response typically consists of placing the patient in

isolation or referring him to a psychiatric prescriber, and virtually never includes a plan to address

the underlying issues leading to the crisis.137 EMCF patients placed in isolation after a crisis can

and do remain in isolation for weeks and months.138 Long-term placement in isolation exacerbates

the crisis and underlying illness.139 There is no reliable crisis intervention outside of working

hours, when mental health staff is not present at the facility.140 Though the Centurion contract

requires “crisis assistance through an established on-call system,” on-call services are not used for

patients in crisis.141

        The deficiencies of EMCF’s crisis response are apparent in staff’s response to instances of

self-injurious behavior (“SIB”). EMCF prisoners engage in a high rate of repetitive, serious SIB,142

a serious disorder that carries a high mortality rate but is usually treatable.143 Prisoners may engage

in self-harm for secondary gain, but staff must nonetheless treat the behavior because it has serious

health effects and indicates a psychological problem.144 Medications by themselves are not

adequate in the vast majority of cases and, if effective, can take months to control symptoms.145 In

the interim, only support services, therapy, careful proactive monitoring, and, when necessary,

135
    Ex. 154, JTX-68 (Dec 2017 audit).
136
    ECF No. 807-2, at 15-20 (Gage 2018 Rpt.) (noting non-compliance with all elements).
137
    Ex. 76, PTX-1504, at 11-12, 58-89 (Gage 2016 Rpt.); ECF No. 807-2, at 15-16 (Gage 2018 Rpt.).
138
    Ex. 25, Tr. vol. 26, 98:5-11 (Gage).
139
    Ex. 25, Tr. vol. 26, 98:17-20 (Gage)); see also infra Section III.
140
    ECF No. 807-2, at 15 (Gage 2018 Rpt.).
141
    Id.
142
    Id. at 17.
143
    Ex. 25, Tr. vol. 26, 137:20-138:16 (Gage)
144
    Ex. 25, Tr. vol. 26, 138:8-138:19 (Gage); ECF No. 807-2, at 12 (Gage 2018 Rpt.).
145
    Ex. 76, PTX-1504, at 65 (Gage 2016 Rpt.).


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limitations on belongings and movement are effective at treating patients.146 However, treatment

targeting SIB is provided in very few cases at EMCF.147 As a result, EMCF patients engage in

multiple, and in some cases life-threatening, episodes of SIB without receiving an adequate crisis

response or subsequent treatment, and they unnecessarily suffer as a result.148

        For example, Patient 38 was admitted to EMCF with a long history of hallucinations,

paranoia, and psychosis. At EMCF, he had repeated bouts of suicidal and homicidal ideation

escalating into serious, potentially deadly acts of SIB such as jumping from the top tier of his cell

block. In February 2016, while housed in isolation, he threatened to harm himself, brandishing an

object in his hand. No suicide assessment was performed. Staff told him he would be seen in two

days, but he was not. Three days later, he cut himself to the tendons in his arm, requiring

emergency surgery. While hospitalized, he was diagnosed with a previously undiscovered stoke

that could have been contributing to his instability. Even after this episode and despite further acts

of SIB and assaultive behavior, no behavioral treatment was ever offered to him, and he was kept

in isolation, leading to his further deterioration.149

        EMCF staff also regularly fail to follow policies that should improve their crisis response.

Staff does not follow the policy requiring behavior management plans, which are used regularly

in other correctional systems to treat patients with SIB and other behavioral problems.150 EMCF

policy also requires a crisis treatment plan for patients predisposed to crisis,151 identifying



146
    Id.
147
    Id. at 64 (Gage 2016 Rpt.); Ex. 28, Tr. vol. 29, 6:2-9 (Gage); ECF No. 807-2, at 12 (Gage 2018 Rpt.),.Ex.
13, Tr. vol. 14, 44:15-50.8 (Donald).
148
    ECF No. 807-2, at 16 (Gage 2018 Rpt.) (noting multiple examples of patients with repeated SIB where
there was no crisis response and inadequate subsequent care).
149
    Ex. 76, PTX-1504, at 109-26 (Gage 2016 Rpt.).
150
    Ex. 28, Tr. vol. 29, 5:10-6:1 (Gage); Ex. 98, PTX-2058 (Policy G-04h); ECF No. 807-2, at 16 (Gage
2018 Rpt.).
151
    Ex. 76, PTX-1504, at 59 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 95:13-23 (Gage).


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measures the patient and clinical staff are supposed to take to respond to crises.152 But Defendants

do not develop crisis treatment plans for patients who need them.153

        Mental health staff are also required by policy to be involved prior to planned uses of force

against prisoners, to de-escalate before security staff use force, but consistently fail to do so.154

Mental health staff interventions are pro forma and rushed, and typically conclude with the mental

health staff advising security staff that the plaintiff’s actions are “behavioral,” rather than the

product of a mental illness—effectively a green light for security staff to use force.155 The practice

of mental health staff facilitating use of force against patients undermines the therapeutic alliance

between mental health staff and patients that is fundamental to adequate care.156 Often, mental

health staff refuse to come to the scene of the use of force entirely, instead talking to the prisoner

or staff over the phone before deeming the prisoner’s actions “behavioral.”157 This is documented

repeatedly on video.158 In 14 out of 20 months for which MDOC’s contract monitor made findings

over two years, staff regularly failed to consult with medical or mental health staff for intervention




152
    Ex. 25, Tr. vol. 26, 95:15-20 (Gage).
153
    Ex. 25, Tr. vol. 26, 95:24-25 (Gage); ECF No. 807-2, at 16 (Gage 2018 Rpt.) (finding only two crisis
plans in 2018, one of which “was not really a crisis plan but a set of goals,” the other “was marginally
adequate but was not followed”). There is almost no evidence that EMCF implements any of the reasonable
alternatives for crisis intervention set out in the Centurion policies “Mental Health Crisis Intervention” and
“Mental Health Watch Procedures.” Ex. 76, PTX-1504, at 59 (Gage 2016 Rpt.). This includes “crisis
intervention plans,” “[c]onsultation with correctional staff regarding patient management,” “exploration of
options to resolve or ameliorate the crisis or distress,” or an “[o]ffer of follow-up or short-term treatment
focused on coping with the crisis.” Ex. 76, PTX-1504, at 59 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 94:12-
95:9 (Gage).
154
    ECF No. 807-2, at 16 (Gage 2018 Rpt.) (in most instances, MHP crisis interventions were absent or of
poor quality).
155
    Ex. 3, Tr. vol. 4, 54:1-5 (Vail).
156
    Ex. 28, Tr. vol. 29, 16:9-13 (Gage); ECF No. 807-2, at 17 (Gage 2018 Rpt.) (“The appropriate role for
mental health in planned uses of force is to attempt to defuse the situation. There is no role in determining
a patient’s intentions or the contribution of mental illness to behavioral problems during a crisis response.”).
157
    See Ex. 6, Tr. vol. 7, 65:9-24 (Dykes); Ex. 121, PTX-2519 (Aug. 23, 2016 report); Ex. 131, PTX-2698
(June 1, 2017 report).
158
    Ex. 3, Tr. vol. 4, 55:16-56:7 (Vail).


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prior to planned uses of force.159 In at least one instance, staff also falsely reported that mental

health staff had attempted to de-escalate a use-of-force situation, which video clearly shows did

not occur, as EMCF Warden Frank Shaw admitted at trial.160 Indeed, Defendants’ senior security

staff admit that staff frequently do not actually engage in de-escalation.161 They also admit that

involving mental health staff reduces the necessity of using force, and thus reduces the risk of harm

to Plaintiffs.162 These failures all create a risk of harm for EMCF patients.163

        Defendants did not rebut this evidence. Dr. Bonner criticizes Dr. Gage for relying

exclusively on chart reviews to determine that mental health staff did not consistently attempt to

de-escalate planned uses of force.164 This is not accurate. Dr. Gage reviewed “134 use of force

incident reports and associated videos” of planned use of force incidents.165 Dr. Bonner does not

dispute a single instance of the “consistent pattern of substandard and dangerous practices where

mental health staff fails to meaningfully engage patients in an effort to de-escalate planned uses of

force.”166 Dr. Bonner states that mental health staff have “successfully de-escalated situation on a



159
    See Ex. 149, PTX-2806 (demonstrative summary); Ex. 96, PTX-1936 (monitor’s weekly reports – 2014);
Ex. 97, PTX-1939 (monitor’s monthly reports – 2015); Ex. 92, PTX-1934 (monitor’s monthly worksheets
– 2016); JTX-061 (compilations of monthly reports by year).
160
    Ex. 130, PTX-2691 (Feb. 21, 2019 report); Ex. 20, Tr. vol. 21, 72:13-76:13 (Shaw).
161
    Ex. 20, Tr. vol. 21, 72:13-76:13 (Shaw) (warden admits planned force used on prisoner without mental
health staff intervention, and staff was dishonest in reporting), 73:03-20 (Shaw) (warden admits staff can
use planned force on a prisoner before mental health staff speaks to him); Ex. 29, Tr. vol. 31, 97:12-21;
98:22-5 (Shaw) (similar); Ex. 6, Tr. vol. 7, 65:9-24 (Dykes) (security chief admits some planned uses of
force occur without mental health staff involvement); Ex. 28, Tr. vol. 29, 65:16-21 (Gage); Ex. 130, PTX-
2691 (Feb. 21, 2019 report).
162
    Ex. 6, Tr. vol. 7, 63:3-10 (Dykes); Ex. 12, Tr. vol. 13, 122:5-14, 122:24-124:4, 124:17-125:8 (Williams);
Ex. 35, Tr. vol. 37, 6:24-7:11 (McGinnis).
163
    Ex. 28, Tr. vol. 29, 6:10-14 (Gage), ECF No. 807-2, at 16 (Gage 2018 Rpt.).
164
    ECF No. 812-1, at 10 (Bonner Decl.).
165
    ECF No. 807-2, at 15 (Gage 2018 Rpt.).
166
    See, e.g., id. at 58 (After Patient 2 refused to let staff take off his restraints, staff engaged in a planned
use of force. Staff contacted a nurse who stated that Patient 2’s behavior was not a mental illness, a
determination that did not involve any mental health staff), 141 (Staff executed a planned use of force,
spraying Patient 29 with chemical spray, after he refused to allow his tray flap to be secure because he did
not have his property from medical. Captured on video, Patient 29 was taken out of his cell covered in blood


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regular basis”167 but does not define what “a regular basis” means nor provide any supporting data.

His claim is also undermined by the testimony of Defendants’ security staff, who admit that de-

escalation does not occur.

        D.      Defendants Fail to Provide Adequate Mental Health Treatment Services and
                Access to Care

        There is a lack of essential treatment services at EMCF.168 EMCF does not follow its own

policies requiring the provision of clinically-indicated individual and group therapy to mentally ill

patients.169 Psychosocial and psychoeducational group therapy170 is a necessary form of treatment

to teach patients about mental illness and medications and is very effective with the seriously

mentally ill.171 Individual therapy is also a necessary part of treatment for certain EMCF patients

to promote clinical engagement and address issues that cannot be addressed by medications or

group therapy, particularly for patients with behavioral problems.172 Yet there is virtually no

individual therapy and extremely limited group therapy at EMCF.173



as a result of a deep laceration to his torso, one of many instances of self-injury. There was no indication
of mental health staff present at the scene and no medical record regarding the incident.).
167
    ECF No. 812-1, at 11 (Bonner Decl.).
168
    See Ex. 22, Tr. vol. 23, 20:1-4; 27:6-28:25, 31:23-33:6; vol. 26, 46:24-48:14, 86:8-10, 92:3-16, 108:22-
25, 110:23-111:5, 113:14-120:25, 130:22-137:10 (Gage); Ex. 33, Tr. vol. 35:14-16 (Arnold); ECF No. 807-
2 at 20-29, App. 1 (Gage 2018 Rpt.) (Patients 2, 3, 6, 8, 12, 14, 16, 17, 18, 19, 27, 28, 29, and 31).
169
    Ex. 25, Tr. vol. 26, 116:23 (Gage); Ex. 76, PTX-1504 at 12, 59 (Gage 2016 Rpt.); ECF No. 807-2, at 22
(Gage 2018 Rpt.) (“no evidence of any patients receiving any psychotherapy”).
170
    Treatment groups are targeted to be part of mental health care based on identified mental health needs
of EMCF patients. Though correctional programs are offered to EMCF prisoners, including those with
mental illness, they are not the equivalent of treatment groups. Ex. 76, PTX-1504, at 41 (Gage 2016 Rpt.);
Ex. 25, Tr. vol. 26, 117:20-118:8 (Gage); Ex. 28, Tr. vol. 29, 61:6-8 (Gage).
171
    Ex. 25, Tr. vol. 26, 117:1-6 (Gage), Ex. 98, PTX-2058 (Policy G-04d & G-04e).
172
    Ex. 76, PTX-1504, at 12 (Gage 2016 Rpt.); Ex. 98, PTX-2058 (Policy G-04h)
(“counselling/psychoeducation . . . can and often should be used in conjunction with behavioral
interventions.”); Ex. 25, Tr. vol. 26, 115:9-22 (Gage).
173
    Ex. 76, PTX-1504 at 12, 40 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 115:9-115:16, 117:12-117:13 (Gage);
Ex. 154, JTX-68 (2017 audit) (“for many patients in correctional settings group treatment can be a very
effective modality,” but no groups were being offered by MHPs, and only 10 percent of patients reviewed
had evidence of group therapy); Ex. 22, Tr. vol. 23, 27:14-28:25 (Perry) (admitting findings of December
2017 mental health audit); ECF No. 807-2, at 33 (Gage 2018 Rpt.) (many patients in need of “basic
individual therapy, or, if willing, appropriate group therapy,” none of whom received it).


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        In addition, EMCF patients are not seen at intervals consistent with their clinical needs.174

Other than psychiatric prescribers, few of the mental health staff at EMCF engage in any

substantial treatment and they typically neglect the treatment needs of the population.175 For

example, “[m]any MHP notes were identical across time. Important errors of fact such as whether

a patient was taking medications, history of suicide attempts, and past psychiatric hospitalization

were in evidence,” and “[t]here is no evidence of any attempt to understand why a patient was

behaving the way they were let alone what to do about it other than the ubiquitous plan to ‘monitor’

the patient, which is clearly not treatment.”176 Defendants admit they do not consistently follow

their own policies setting maximum intervals for treatment.177 Instead, most contacts with mental

health clinicians other than psychiatric prescribers are at cell front, in hallways or in common

areas, often with custody present, precluding confidentiality.178 Defendants admit that clinical

encounters are not occurring in confidential areas,179 which undermines treatment and is a violation




174
    Ex. 76, PTX-1504, at 12 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 92:3-7, 116:15-17 (Gage).
175
    Ex. 25, Tr. vol. 26, 86:8-10 (Gage); Ex. 76, PTX-1504, at 38 (Gage 2016 Rpt.).
176
    ECF No. 807-2, at 10-11 (Gage 2018 Rpt.).
177
    Ex. 155, JTX-70, Ex. 156, JTX-71, Ex. 153, JTX-72, Ex. 159, JTX-73, Ex. 157, JTX-74, Ex. 158, JTX-
75, Ex. 160, JTX-76, Ex. 161, JTX-77, Ex. 162, JTX-78, Ex. 163, JTX-79, Ex. 164, JTX-145, Ex. 165,
JTX-146, and PTX 2818 (CQI reviews) showing that 42 percent of seriously mentally ill prisoners were
not seen monthly per policy); Ex. 22, Tr. vol. 23, 20:1-4; 27:6-13 (Perry) (admitting December 2017 mental
health audit states that “significant improvements” were still needed at EMCF concerning patients receiving
individual treatment every 30 days); Ex. 154, JTX-68 (Dec. 2017 audit) (33 percent of EMCF patients were
not seen by the psychiatric provider at the interval per the Centurion contract; EMCF the only facility where
mental health caseload prisoners were not seen every 90 days by a provider; 70 percent of LOC-C patients
not seen by an MHP every 45 days as required; and “significant improvements are required in conducting
30-day clinical contacts with patients at EMCF”).
178
    Ex. 76, PTX-1504, at 10, 48 (Gage 2016 Rpt.); ECF No. 807-2, at 23 (Gage 2018 Rpt.).
179
    Ex. 154, JTX-68 (Dec. 2017 audit) (patients generally seen by psychiatric providers at cell front, rather
than in a confidential clinical space, and Unit 3 patient appointments occur in offices, classrooms, hallways,
or at tables within the common area); Ex. 32, Tr. vol. 34, 57:14-59:4 (Pickering) (former MHP conducted
rounds and appointments cell-side and did not always accommodate prisoners who requested
confidentiality).


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of EMCF’s own policies.180

        The mere fact that EMCF patients prescribed psychotropic medications are seen by a

provider every 90 days does not address the risks created by their not being timely seen at

appropriate intervals by MHPs.181 The MHPs conduct follow up “as needed,” which is not “the

standard of care for the seriously ill or those at risk of self-harm . . .who often are too ill to desire

or ask for follow up, [and] places these patients at undue risk.”182

        A litany of other deficiencies also hinder provision of adequate care to EMCF prisoners:

EMCF’s “residential mental health treatment unit” (Unit 3) does not provide necessary services

for this seriously ill population. Treatment staff does not have sufficient input into the housing of

mental health caseload prisoners.183 The newly-developed Acute Care Unit (“ACU”) is too small

to materially address the lack of adequate treatment services and mental health housing, and most

of the more seriously ill patients at EMCF are not being treated on the ACU.184

        EMCF patients unnecessarily suffer because of these inadequate services, placing

themselves and others at substantial risk of serious harm.185


180
    Confidentiality is necessary for the open expression of highly personal information, without which it is
impossible to identify and address a patient’s problems. Ex. 76, PTX-1504, at 47-48 (Gage 2016 Rpt.).
Patient privacy is to be maximized per the Centurion policy “Privacy of Care.” Id. at 48.
181
    Ex. 76, PTX-1504, at 38 (Gage 2016 Rpt.).
182
    Id.; see Ex. 25, Tr. vol. 26, 92:8-16 (Gage).
183
    ECF No. 807-2, at 20-21 (Gage 2018 Rpt.).
184
    Id. at 23-26.
185
    See, e.g., Ex. 22, Tr. vol. 23, 20:1-4; 27:6-31:9, 31:23-33:6 (Perry) (admitting knowledge of problems
with mental health services at EMCF); Ex. 154, JTX-68, at 10-23, 26-29 (Dec. 2017 audit) (noting
deficiencies in mental health treatment and recommending corrective action); Ex. 101, PTX-2173 (Dec.
2016 audit) (same); Ex. 151, PTX-2818 (demonstrative exhibit) (2017 CQI summary of non-compliance
with metric regarding documentation of segregation of prisoners on mental health caseload); Ex. 2, Tr. vol.
3, 17:3-12 (Vail) (“if mentally ill [prisoners] are untreated, they will have a higher incident of assault on
staff and on other [prisoners]”); Ex. 25, Tr. vol. 26, 46:24-48:18, 86:6-10, 92:3-16, 108:22-25, 110:22-
111:5, 113:11-120:25, 130:19-137:10 (Gage) (discussing risk of harm and actual harm to patients due to
failures to provide adequate mental health services) PTX-1504, at App. 2 (Gage 2016 Rpt.) (identifying
risk of harm posed by inadequate mental health services as to Patients 1, 2, 4, 5, 6, 9, 7, 10, 11, 13, 16, 17,
18, 19, 21, 31, and 38); ECF No. 807-2, at 20-29, App. 1 (Gage 2018 Rpt.) (Patients 2, 3, 4, 5, 6, 7, 8, 12,
14, 15, 16, 17, 18, 19, 26, 27, 28, 29, and 31); see also Ex. 155, JTX-70, Ex. 156, JTX-71, Ex. 153, JTX-


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        E.      Defendants Hold Mentally Ill Prisoners in Isolation in Lieu of Treatment

        Isolation at EMCF consists of housing a prisoner in a single cell for at least 22 hours per

day with little or no interaction with other human beings, including mental health care staff.

Isolation is used in the medical unit and in Unit 5.186 Defendants admit that 99 percent of the

prisoners in segregation are on the mental health caseload,187 and 14 percent of the most seriously

mentally ill at EMCF are housed in isolation.188 Defendants also know that the effects of solitary

confinement are especially harmful for seriously mentally ill people.189 Moreover, some EMCF

patients suffer from mental illnesses that contraindicate their placement into isolation. These are

patients for whom isolation will make their illnesses worse and decrease the likelihood of a

response to treatment. And there is a consensus190 that seriously mentally ill prisoners should be

excluded from long-term isolation.191 Yet EMCF still houses them in isolation.192

        EMCF also does not follow its own policy requiring mental health staff to be notified and

to assess patients placed in segregation.193 The policy is necessary to prevent prisoners who are




72, Ex. 159, JTX-73, Ex. 157, JTX-74, Ex. 158, JTX-75, Ex. 160, JTX-76, Ex. 161, JTX-77, Ex. 162, JTX-
78, Ex. 163, JTX-79, Ex. 164, JTX-145, Ex. 165, JTX-146 (2017 CQI studies).
186
    Ex. 25, Tr. vol. 26, 100:15-25 (Gage).
187
    Ex. 154, JTX-68 (Dec. 2017 audit).
188
    ECF No. 807-2, at 33 (Gage 2018 Rpt).
189
    Ex. 32, Tr. vol. 34, 61:6-10 (Pickering).
190
    The American Bar Association Standard #23-2.8 states that “[n]o prisoner diagnosed with serious mental
illness should be placed in [solitary confinement].” Ex. 77, PTX-1506, at 36 (Kupers 2016 Rpt.). The
American Psychiatric Association states that “[p]rolonged segregation of adult [prisoners] with serious
mental illness, with rare exceptions, should be avoided due to the potential for harm to such [prisoners].”
Id. at 37.
191
    See Ex. 77, PTX-1506, at 32 (Kupers 2016 Rpt.); Ex. 15, Tr. vol. 16, 62:11-63:4 (Kupers).
192
    Ex. 15, Tr. vol. 16, 31:15-35:5, 46:20-48:7, 48:22-50:12, 61:2-62:12 (Kupers); Ex. 17, Tr. vol. 18, 74:22-
77:10 (Dockery); Ex. 21, Tr. vol. 22, 51:12-68:9 (Hickman-Estes); Ex. 25, Tr. vol. 26, 50:15-51:22, 98:11-
113:10 (Gage); Ex. 28, Tr. vol. 29, 10:6-16 (Gage); PTX 1504, at App. 2 (Gage 2016 Rpt.) (Patients 8, 10,
30, and 38) (all acutely ill men placed in isolation for months despite being acutely ill and contraindicated
for placement; clinical deterioration in isolation evidenced by increasing psychosis, hallucinations,
delusions, and repeated assaultive and self-injurious behavior); ECF No. 807-2 at 33, App. 1 (Gage 2018
Rpt.) (Patients 3, 18, 27, and 29) (similar).
193
    Ex. 25, Tr. vol. 26, 104:16-105:17 (Gage).


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contraindicated from going into segregation.194 Even if it were followed, the itself is inadequate

because it allows the assessment to occur up to 30 days after placement in isolation, exposing that

patient to unreasonable risk.195 The evaluations that do occur are non-confidential, cell-side

interviews that are inadequate to determine if placement is contraindicated.196

        Seriously mentally ill EMCF prisoners in restrictive housing are rarely properly

assessed.197 Mental health services in isolation are limited to crisis response, medication

administration, and occasional visits with a psychiatric prescriber. Other forms of treatment, which

are required by the Centurion contract and basic clinical standards, are not provided.198 Most

clinical contacts in isolation are brief rounds conducted by mental health staff at a patient’s cell

door. These are inadequate to assess patients for possible deterioration or to treat patients.199 MHPs

also spend very little time on the housing units.200 Defendants’ own internal studies document

these systemic problems with mental health services in isolation.201

        Due to these deficiencies, seriously mentally ill prisoners, including acutely ill prisoners,


194
    Ex. 25, Tr. vol. 26, 105:11-13 (Gage).
195
    Ex. 100, PTX-2078, at 2 (MDOC Offender Segregation Policy); Ex. 28, Tr. vol. 29, 66:14-22 (Gage)
(beyond 72 hours, people in isolation begin to have deterioration of their mental health, even those without
mental illness).
196
    Ex. 15, Tr. vol. 16, 64:12-66:23, 68:8-15 (Kupers).
197
    PTX-1504, at 13 (Gage 2016 Rpt.); ECF No. 807-2, at 34 (Gage 2018 Rpt.).
198
    PTX-1504, at 46 (Gage 2016 Rpt.).
199
    Ex. 11, Tr. vol. 12, 20:14-21:20 (Grogan); Ex. 14, Tr. vol. 15, 62:9-63:5 (Melton); Ex. 25, Tr. vol. 26,
101:1-12 (Gage).
200
    ECF No. 807-2, at 34 (Gage 2018 Rpt.) (MHPs spent on average seven minutes on the unit for a two-
week survey period).
201
    Ex. 155, JTX-70, Ex. 156, JTX-71, Ex. 153, JTX-72, Ex. 159, JTX-73, Ex. 157, JTX-74, Ex. 158, JTX-
75, Ex. 160, JTX-76, Ex. 161, JTX-77, Ex. 162, JTX-78, Ex. 163, JTX-79, Ex. 164, JTX-145, Ex. 165,
JTX-146 (2017 CQI studies) (showing that mental health staff was not notified when caseload prisoners
were placed in segregation 64 percent of the time; and segregation rounds were not performed thrice weekly
32 percent of the time); Ex. 154, JTX-68, at 22-25 (Dec. 2017 contract compliance review) (showing that
EMCF MHPs were not consistently providing 30-day individual contacts, and EMCF patients were held in
an acute setting “for extended periods of time”); see also Ex. 32, Tr. vol. 34, 47:18-49:3, 60:2-15; 60:22-
61:10 (Pickering) (EMCF counselor admitting he conducted segregation rounds weekly cell-side, and that
even prisoners who are not mentally ill might develop symptoms after being held in segregation for a long
time).


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are regularly housed in isolation conditions that exacerbate their illnesses.202 In the past year, these

patients include Patient 27, who has a history of psychosis and suicide attempts, and was routinely

subject to use of force in isolation for violence against officers and other prisoners. On one

occasion, he was placed in isolation with no clothing. On another occasion, while being transported

to isolation, Patient 27 attempted to resist transfer by continuously banging his head on the cell

door, resulting in injuries.203 No consideration was ever given to whether isolation was

contraindicated, and he “was allowed to simply languish with deteriorating self-care while in

restrictive housing.”204 Another psychotic patient, Patient 3, refused to leave the medical unit to

return to Unit 5 even after being sprayed three times with chemical spray. He was forcibly returned

to Unit 5 even though he remained floridly ill after being involuntarily medicated. He “remained

psychotic and [] refus[ed] medications” after returning to isolation. 205

      There is no evidence in EMCF records that a single patient has been diverted from isolation

due to their mental illness, despite the fact that nearly every prisoner Plaintiffs’ expert on isolation

spoke with suffered from a mental illness and exhibited the signs and symptoms of mental

decompensation associated with solitary confinement.206 This failure to consistently conduct

assessments, divert appropriately, and refer the mentally ill for assessment and treatment is a

source of potential and actual harm.207

         Defendants failed to present credible evidence rebutting Plaintiffs’ evidence as to the


202
    ECF No. 807-2, at 34-35 (Gage 2018 Rpt.) (describing 11 patients placed in isolation during 2018,
including two stripped of clothing and placed on suicide precautions in Unit 5); PTX-1504 (Gage 2016
Rpt.), App. 2 (identifying risk of harm posed by isolation as to Patients 8, 10, 30, and 38).
203
    See ECF No. 807-2, at 127-33 (Gage 2018 Rpt.).
204
    Id. at 132.
205
    Id. at 34-35, 60-62.
206
    Ex. 15, Tr. vol. 16, 61:2-62:12 (Kupers); see also Ex. 77, PTX-1506, at 41-46 (summaries of Dr. Kupers’
illustrative 2016 interviews with eight mentally ill prisoners in isolation).
207
    Ex. 15, Tr. vol. 16, 19:23 (Kupers) (the degree of self-harm by prisoners in isolation at EMCF is unheard
of in a facility housing adult men).


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deficient treatment of the Mental Health Subclass in isolation. Dr. Bonner provided no data or

studies on the services by the MHP newly assigned to Unit 5,208 nor did he dispute Plaintiffs’

experts’ findings as to any of the isolation patients whose care they found inadequate.

        F.       Defendants Fail to Provide Appropriate Mental Health Housing

        A residential treatment unit is a unit set aside for people with mental illness, intellectual

disabilities, or dementia.209 These units reduce the risk of victimization and facilitate treatment by

aggregating seriously mentally ill patients.210 Such units almost always require specialized

programming to limit isolation and increase treatment adherence. This is expressly provided for in

Centurion’s policy “Basic Mental Health Services,” but has not been implemented at EMCF.211

        At EMCF, Unit 3 is called a “residential unit” and houses the largest percentage of patients

in the state with serious mental illness, holding approximately 225 patients.212 Unit 3 offers

services that are virtually indistinguishable from those in other units and runs no differently.213

The unit is bereft of any special services, such as basic rehabilitation or structured activities.

Patients spend almost all of their time in their cells or in the dayroom. Defendants admit that Unit

3 does not provide necessary specialized services.214 Staffing is not sufficient in Unit 3 to ensure




208
    ECF No. 812-1 ¶¶ 51-53 (Bonner Decl.).
209
    Ex. 25, Tr. vol. 26, 130:19-131:13 (Gage).
210
    Id.
211
    PTX-1504, at 60 (Gage 2016 Rpt.).
212
    ECF No. 807-2, at 22 (Gage 2018 Rpt.); see also Ex. 154, JTX-68, at 26 (Dec. 2017 audit); ECF No.
812-1 ¶¶ 15(c) (Bonner Decl.).
213
    ECF No. 807-2, at 23 (Gage 2018 Rpt.) (“[M]ost patients receive nothing other than medications and
occasional brief contacts with an MHP and live in a chaotic, unstructured, counter-therapeutic setting.”).
214
    Ex. 25, Tr. vol. 26, 132:12-23, 133:5-8 (Gage); PTX-1504, at 61 (Gage 2016 Rpt.); Ex. 154, JTX-68, at
27 (Dec. 2017 contract compliance review) (showing that none of the surveyed Unit 3 patients had an
admission assessment confirming the need for placement in the unit; two-thirds did not have adequate
treatment plans; none had individual counselling provided every 30 days, or out-of-cell clinical contacts;
one-third of the clinical contacts failed to identify the interventions provided to the patient; three-quarters
of progress notes failed to identify the patient’s progress towards goals in the treatment plan; and three-
quarters of patients were not participating in group therapy).


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that all patients have access to intensive services including individual and group therapy.215

Though Dr. Perry claims that the unit is now fully staffed with mental health professionals, she

also could not produce documentation to substantiate that claim.216

        Structured treatment programs, including group treatment and other programming and

education, are effective in delivering useful treatment while reducing unstructured time.217 But this

service is not provided in Unit 3. Unstructured time in Unit 3 places both patients and staff at risk

from assaults by other prisoners, and increases isolation, resulting in patients becoming steadily

more preoccupied with their symptoms, leading to further deterioration and more problem

behaviors including “altercations, stabbings, property destruction, and self-harm.”218

        The Acute Care Unit (ACU) opened in February 2018, has only fourteen beds, far too few

to substantially impact the needs of seriously ill EMCF patients.219 Many of the patients housed

on Unit 3 meet the admission criteria for the ACU, and would benefit from the services that are

supposed to be provided there, but have no access to them.220 Because the ACU does not provide

hospital-level care, Defendants also exclude from the ACU anyone who might require it, such as

those who pose a danger to themselves or others.221 While excluding those who are imminently

dangerous is reasonable, these broad criteria also exclude patients who do not pose an imminent

threat, instead condemning them to long-term placement in isolation in Unit 5 and the medical

unit, where Defendants provide them “dangerously substandard care.”222 As a result, the ACU

treats patients who have less severe illnesses, or who have stabilized, rather than the acutely ill


215
    Ex. 154, JTX-68, at 26, 28 (Dec. 2017 audit).
216
    Ex. 22, Tr. vol. 23, 31:23-33:6 (Perry).
217
    Ex. 25, Tr. vol. 26, 108:22-25, 110:22-111:5 (Gage).
218
    ECF No. 807-2, at 21-22 (Gage 2018 Rpt.); PTX-1504, at 61 (Gage 2016 Rpt.).
219
    ECF No. 807-2, at 23 (Gage 2018 Rpt.).
220
    Id.
221
    Id.
222
    Id. at 24.


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who need intensive treatment the most.223 Nor is the ACU is providing the frequency or quality of

services it was designed to provide: there is no individual therapy or psychoeducation programing

and only half of the hours of structured therapy that is the national consensus for such programs.224

        Finally, the medical unit is essentially run as a restrictive housing unit.225 Many of those

who are placed in the medical unit because they are suicidal and suffering acute decompensation

from a psychotic or mood disorder will worsen under such conditions.226 Some acutely ill patients

stay in the medical unit for many months.227 One acutely-ill patient (Patient 19) remained in the

medical unit for a year, suffering from bouts of mania and severe agitation that were not relieved

by repeated involuntary injections. He was isolated, without any structured treatment, which likely

contributed to his deterioration and put him at “serous long term risk.”228 As of last October he

remained in the medical unit, where he was malodorous, “staring, rocking, [and] intense,” and

“exhibited thought blocking [and] magical thinking.”229

        Exacerbating these problems, mental health staff spend very little time on the units and

patients are almost always without any structured activities or direct supervision.230 Mental health

staff also does not have sufficient input over patient placement into mental health settings,

specifically placement in Unit 3 and exclusion of contraindicated patients from isolation housing

in Unit 5, resulting in many seriously mentally ill being housed in inappropriate and restrictive


223
    Id.
224
    Id. at 26.
225
    Id. at 27.
226
    PTX-1504, at 61 (Gage 2016 Rpt.); ECF No. 807-2, at 36 (Gage 2018 Rpt.) (“While placement in . . .
HU-5 is [] patently non-therapeutic . . . , the infirmary is, in some ways worse. Patients . . . are just as
isolated or more so. They have no activities and [no] yard. . . . This is extremely counter-therapeutic.”).
227
    ECF No. 807-2, at 35 (Gage 2018 Rpt.).
228
    Id. at 114.
229
    Id. at 107, 114.
230
    See, e.g., ECF No. 807-2, at 24 (Gage 2018 Rpt.) (noting MHPs spending less than 11 minutes on average
in Unit 3); Ex. 16, Tr. vol. 17, 5:15-6:12, 8:19-10:6, 18:13-17 (Kupers) (describing conditions on Unit 5);
Ex. 21, Tr. vol. 22, 32:14-34:7, 34:13-35:17 (Long) (same); Ex. 10, Tr. vol. 11, 96:16-97:6, 98:1-99:7
(Grogan) (same).


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settings.231 Dr. Bonner states that since June 2018 mental health staff “have full control over

admission to and discharges from the Acute Care Unit (ACU),”232 but Plaintiffs have never

claimed otherwise. Rather, Plaintiffs have shown, including through Defendants’ admissions, that

EMCF mental health staff does not control placement into Unit 3 or out of Unit 5, not the ACU.233

        In sum, mental health treatment requires clean, well-organized settings that function

according to expectations; the conditions on EMCF’s living units frustrate that need, placing the

Mental Health Subclass at substantial risk of serious harm.234

        G.      Defendants Employ Inadequate Involuntary Mental Health Treatment Practices

        Involuntary treatment is essential to properly manage some with serious mental illness.235

Involuntary treatment at EMCF is both not provided when needed and provided (without adequate

safeguards) when it is not indicated.236 In addition, though authorized by EMCF policy, clinical

restraints are not used at EMCF.237 The judicious use of clinical restraints is sometimes necessary

to provide crisis services to dangerous patients who cannot be controlled by other treatments.238


231
    Ex. 25, Tr. vol. 26, 133:14-19 (Gage); Ex. 28, Tr. vol. 29, 7:17-8:4, 11:22-12:4 (Gage); PTX-1504, at
10, 39-40 (Gage 2016 Rpt.); ECF No. 807-2, at 13, 22 (Gage 2018 Rpt.) (as of November 2018, 22 percent
of LOC-D patients were not housed in Unit 3/ACU/Infirmary, though they are supposed to be housed there,
and 14 percent are in isolation); id. at 21 (“Medical records continued to demonstrate that custody staff
determine placement., even to residential treatment units . . . . [and] demonstrated that patients with acute
psychosis who did very poorly in restrictive housing were nonetheless placed there.”). Defendants admit
this is a problem. Ex. 154, JTX-68, at 26 (Dec. 2017 contract compliance review) (patient movement into
and off of Unit 3 is “typically determined by security staff often without input from the mental health
providers;” further, “[a]lthough all patients with a LOC-D designation at EMCF should ideally be housed
in Unit 3, this was not the case”).
232
    ECF No. 812-1 ¶¶ 1, 41 (Bonner Decl.).
233
    See, e.g., ECF No. 807-2, at 21-22 (Gage 2018 Rpt.).
234
    Ex. 15, Tr. vol. 16, 77:6-22 (Kupers); ECF No. 807-2, at 23 (Gage 2018 Rpt.). Living units, including
Unit 3, remain chaotic, dangerous, and patently non-therapeutic. ECF No. 807-2, at 23 (Gage 2018 Rpt.)
(describing Unit 3), 26 (ACU), 28 (infirmary), 36 (Unit 5), 123 (same), 141 (same); Ex. 13, Tr. vol. 14,
53:13-55:11 (Donald) (unit manager admits there were 66 fires set on Unit 5 in a two month period).
235
    PTX-1504, at 11 (Gage 2016 Rpt.).
236
    Id. at 11, 26; ECF No. 807-2, at App. 1 (Gage 2016 Rpt.) (describing involuntary medication or
medication without informed consent of Patients 3, 18, and 19).
237
    PTX-1504, at 29-31 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 129:19-130:1 (Gage).
238
    See, e.g., Ex. 25, Tr. vol. 26, 129:19-130:1 (Gage).


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Because clinical restraints are not used at EMCF, acutely ill EMCF patients do not receive

necessary crisis treatment, and harm themselves even when they are on watch.239

        H.      Defendants Employ Dangerous Psychotropic Medication Practices

        EMCF employs substandard and dangerous medication practices.240 This includes lack of

a process for long-term involuntary antipsychotic administration, inappropriate use of emergency

and routine antipsychotics, starting medications at excessively high doses, and poor medication

monitoring.241 These deficiencies have harmed and create a risk of harm for EMCF patients.242 In

addition, psychotropic medications are often distributed when prisoners are asleep, and no effort

is made to wake the prisoners or distribute the medication at some other time.243 And EMCF fails

to reliably treat patients who refuse their psychotropic medications placing patients, other

prisoners, and staff at risk of harm related to under-treated mental illness.244 EMCF also fails to

reliably monitor psychotropic medication adherence because MARs are “almost never complete”

and “highly suspect.”245

        Defendants admit that medication non-compliance is not appropriately handled at



239
    See, e.g., Ex. 25, Tr. vol. 26, at 130:11-130:14 (Gage).
240
    See, e.g., ECF No. 807-2, at 30-34 (Gage 2018 Rpt.).
241
    PTX-1504, at 13, 62-63 (Gage 2016 Rpt.); Ex. 25, Tr. vol. 26, 122:23-124:8 (Gage) (medications started
at doses above industry standards and multiple medications begun at the same time in violation of
community standards placed patients at risk of harm and caused actual harm); Ex. 25, Tr. vol. 26, 126:16-
21 (Gage) (failure to detect and address medication non-compliance); ECF No. 807-2, at 30 (Gage 2018
Rpt.) (medications started at two and three times the industry recommendation).
242
    E.g., ECF No. 807-2, App. 1 (Gage 2018 Rpt.) (identifying risk of harm posed by psychotropic
medication practices as to Patients 2, 3, 4, 5, 7, 8, 12, 14, 16, 18, 19, 20, 25, 27, 28, and 30); PTX-1504,
App. 1 (Gage 2016 Rpt.) (Patients 1, 2,5, 6, 8, 9, 16, and 38).
243
    Ex. 14, Tr. vol. 15, 90:7-13 (Mitchell); Ex. 16, Tr. vol. 17, 90:15-91:16; 93:4-94:8; 96:17-97:11 (Hill);
ECF No. 807-2, at 33 (Gage 2018 Rpt.) (“The psychiatrist confirmed that medications were sometimes
coming late but rarely after midnight.”).
244
    PTX-1504, at 33, App. 1 (Patients 8, 9, and 17 grew more symptomatic and assaultive after medication
non-compliance went unaddressed); Ex. 25, Tr. vol. 26, 77:19-78:9, 126:16-21 (Gage); ECF No. 807-2, at
15 (Gage 2018 Rpt.) (“There are well-established methods of working with this population of medication
refusers. There was no evidence of any attempt to employ these methods.”)
245
    ECF No. 807-2, at 33 (Gage 2018 Rpt.); see also PTX-1504, at 32 (Gage 2016 Rpt.).


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EMCF.246 For example, psychotropic medications can cause serious side effects and adverse

effects and need to be monitored.247 But routine medication monitoring is inconsistent at EMCF,

and not compliant with policy.248 Monitoring is also very spotty for common adverse reactions.

There were almost no instances where there was evidence of appropriate baseline laboratories and

other studies (such as an EKG) being ordered prior to the inception of medication treatment.249

Other standard laboratory studies necessary to diagnose EMCF patients are not performed.250

        Finally, though EMCF policy provides a process for administering long-term involuntary

psychotropic medications consistent with Harper v. Washington, 494 U.S. 210 (1990), that process

is not utilized at EMCF.251 Defendants admit EMCF patients receive long-acting psychotropic

medications without their consent, and without a clear clinical rationale for the use of involuntary




246
    Ex. 155, JTX-70, Ex. 156, JTX-71, Ex. 153, JTX-72, Ex. 159, JTX-73, Ex. 157, JTX-74, Ex. 158, JTX-
75, Ex. 160, JTX-76, Ex. 161, JTX-77, Ex. 162, JTX-78, Ex. 163, JTX-79, Ex. 164, JTX-145, Ex. 165,
JTX-146 (2017 QI studies) (showing zero percent compliance with policy requirement that there is a
documented provider notification after three refusals of medication); Ex. 22, Tr. vol. 23, 108:22-110:11
(Perry) (admitting that four of the metrics for medication administration in the December 2017 CQI report
are below the required 90 percent, including all doses documented appropriately (4 percent) and missed
doses documented appropriately (zero percent); id. at 110:7-9 (Perry) (admitting that overall compliance
for medication monitoring is a “problem area.”).
247
    Ex. 25, Tr. vol. 26, 121:1-24 (Gage).
248
    ECF No. 807-2, at 30-31 (Gage 2018 Rpt.) (inconsistent medication monitoring and policy non-
compliance).
249
    Ex. 25, Tr. vol. 26, 123:4-23 (Gage); see also PTX-1504, at 63 (Gage 2016 Rpt.) (Patients 1, 2, 5, 8, 13,
16, 18, 31, and 32 had inadequate laboratory monitoring); Ex. 25, Tr. vol. 26, 124:2-10, 125:5-19 (Gage)
(discussing Patient 6). There was no follow-up when laboratories demonstrated abnormalities. These
abnormalities can represent life-threatening reactions to certain medications. See PTX-1504, at 63 (Gage
2016 Rpt.). Dr. Bonner asserts that EMCF has instituted a “recent change” to protocol to improve timely
lab monitoring, but presents no evidence of its effectiveness. ECF No. 812-1 ¶ 48 (Bonner Decl.).
250
    These assessments are necessary in cases of cognitive decline of unknown etiology and in some cases
of new onset psychosis, among other less common conditions. Failure to properly diagnose such conditions
places patients at unreasonable risk, and may lead to inappropriate or ineffective pharmacological treatment.
It also leads to failure to adopt appropriate behavioral measures to address associated dangerous or other
problem behaviors. See PTX-1504, at 33 (Gage 2016 Rpt.).
251
    See, e.g., Ex. 25, Tr. vol. 26, 78:20-79:21, 129:13-18 (Gage); PTX-1504, at 26 (Gage 2016 Rpt.); Ex.
154, JTX-68, at 26 (Dec. 2017 audit) (failure to comply with involuntary medications policy); ECF No.
812-1 ¶ 47 (Bonner Decl.) (admitting no Harper hearing process in place); ECF No. 807-2, at 30 (Gage
2018 Rpt.).


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medications.252 Meanwhile, other EMCF patients who require involuntary medications do not

receive them, placing them and others at risk.253

        I.      Defendants’ Suicide Prevention Practices are Dangerously Substandard

        Dangerously substandard suicide prevention practices persist at EMCF. Suicide

assessments and associated plans for reducing risk among suicidal prisoners, as is monitoring of

suicidal patients.254 The prison is rife with obvious and readily available means for prisoners to

harm themselves. None of the living units are suicide-proof, and there are numerous anchor points

(objects or fixtures that a prisoner could use to hang himself) and a variety of other hazards,

including breakable fixtures.255 Defendants fail to restrict access to potentially lethal objects even

for patients on suicide watch, including one patient who had a 33-inch piece of rebar.256 As a result

there has been an abundance of preventable injury and at least one preventable suicide at EMCF.257

        As noted, mental health clinicians do not conduct adequate suicide risk assessments.258

Failing to complete such an assessment substantially increases the risk of harm, which is evident




252
    Ex. 154, JTX-68 (Dec. 2017 audit) (patients given involuntary medications without physician order or
clear clinical rationale, and extending beyond 72 hours, in violation of policy); Ex. 25, Tr. vol. 26, 51:25-
52:11, 53:19-54:5 (Gage) (improper involuntary medication use for Patient 9); ECF No. 807-2, at 30 (Gage
2018 Rpt.) (documenting eight patients who “received antipsychotic injections without sufficient clinical
justification.”).
253
    PTX-1504 at 27-28, App. 1 (Gage 2016 Rpt.) (Patients 8 and 9 grew assaultive and clinically deteriorated
after refusing medications); Ex. 25, Tr. vol. 26, 73:16-76:18, 80:6-81:20, 127:14-127:23 (Gage) (patient
SIB and assaults after decompensating from medication non-compliance).
254
    ECF No. 807-2, at 18-21 (Gage 2018 Rpt.).
255
    Ex. 13, Tr. vol. 14, 66:21-67:17, 69:1-12, 71:20-72:3, 74:20-75:1 (Donald) (only one of 120 light fixtures
in segregation unit replaced with suicide resistant model; prisoners regularly injure themselves in
segregation but remain in that unit); Ex. 60, PTX-1005 (Jan. 21, 2016 report), Ex. 69, PTX-1271 (Apr. 16,
2017 report), Ex. 133, PTX-2705 (May 31, 2017 report) (prisoners injuring themselves in segregation with
various hazards); ECF No. 807-2, at 20 (Gage 2018 Rpt.) (noting anchor points in both the old and new
light fixtures, and exposed lightbulbs that have been used by prisoners to cut themselves).
256
    See, e.g., ECF No. 807-2, at 20 (Gage 2018 Rpt.).
257
    See id.; PTX-1504, at 65-70 (Gage 2016 Rpt.).
258
    PTX-1504, at 65 (Gage 2016 Rpt.); Ex. 28, Tr. vol. 29, 33:7-8 (Gage); ECF No. 807-2, at 18 (Gage 2018
Rpt.).


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in the profound degree of SIB seen at EMCF.259 These substandard suicide prevention practices

have placed EMCF prisoners at unreasonable risk. For example, last year, one patient told a nurse

he had auditory hallucinations telling him to kill himself, but was not seen by a provider for more

than three weeks; at that time, no suicide risk assessment was performed.260 Another was placed

on watch status in the medical unit after cutting himself, but did not receive a suicide risk

assessment. Four days after he was released, he threatened to hang himself, but was placed back

in restrictive housing, again with no suicide risk assessment or plan to address his suicidal

ideation.261 The risk of these gross deficiencies in suicide prevention manifested with a third

prisoner who successfully committed suicide.262 Staff documented his repeated instances of severe

self-harm,263 but there is no evidence he had any treatment other than medications, which were

discontinued shortly before his suicide. The patient did not receive a careful suicide risk

assessment, a thorough mental health assessment, or appropriate behavioral and therapeutic

interventions. The care of this patient was grossly substandard in light of known serious risks.264

        Defendants presented very limited rebuttal evidence regarding suicide prevention. Dr.

Bonner asserts that “treatment plans . . . do address self-harming behavior.”265 But he presents no

data or internal reviews supporting his testimony, how many such treatment plans exist, and how

many patients who engage in SIB have such treatment plans.266 Dr. Bonner admits that more work



259
    PTX-1504, at 66 (Gage 2016 Rpt.); Ex. 28, Tr. vol. 29, 33:16-35:16 (Gage); ECF No. 807-2, at 18-21
(Gage 2018 Rpt.).
260
    ECF No. 807-2, at 93-97 (Gage 2018 Rpt.) (Patient 16).
261
    Id. at 138-43 (Gage 2018 Rpt.) (Patient 29).
262
    Ex. 28, Tr. vol. 29, 37:24-38:20 (Gage) (Patient 10).
263
    E.g., Ex. 61, PTX-1018 (Feb. 29, 2016 report), Ex. 62, PTX-1022 (Mar. 4, 2016 report), Ex. 114, PTX-
2425 (June 16, 2015 report), Ex. 122, PTX-2546 (Mar. 6, 2016 report).
264
    Ex. 28, Tr. vol. 29, 39:25-40:14 (Gage); PTX-1504, at 69 (Gage 2016 Rpt.); Ex. 5, Tr. vol. 6, 94:19-
99:10, 101:14-20 (Hogans) (deputy warden admitting that a suicide attempt “requires immediate action”
but EMCF’s response to a suicide took “more than five minutes”); Ex. 63, PTX-1027 (Apr. 4, 2016 report).
265
    ECF No. 812-1 ¶ 38 (Bonner Decl.).
266
    See id. ¶¶ 37-39.


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needs to be done on treatment plans for SIB, and claims this will be the responsibility of a Clinical

Director, who had not begun work at EMCF as of December 21, 2018.267

        Dr. Bonner states that the medical unit has “sufficient beds to house all prisoners who

should be on suicide watch,” but does not dispute that Dr. Gage identified two patients who were

both placed on watch outside the medical unit in 2018, demonstrating inadequate capacity.268 Dr.

Bonner also states that providers conduct mental health rounds in the medical unit,269 but Dr. Gage

acknowledges this in his report.270 The problem is MHPs and nursing staff do not conduct rounds

consistently, provider rounds are not consistently documented, and MHP rounds are “cursory and

virtually never included any therapeutic interaction [and,] in the vast majority of cases,” patients

were examined as if they had normal mental states, “even for patients who had well documented

grossly abnormal mental status exams.”271 Dr. Bonner does not dispute this evidence, or Dr.

Gage’s conclusion that MHP rounds are “unreliable and virtually worthless.”272

        J.       Defendants Discipline Prisoners for Behavior that is the Product of Mental Illness

        Defendants continue to punish patients who engage in SIB. This acts as a deterrent to access

to care and undermines the therapeutic alliance between mental health staff and patient, thus

endangering the patient.273 These practices have been condemned by correctional mental health



267
    See id. ¶¶ 14, 39.
268
    Compare id. ¶ 43-44 with ECF No. 807-2, at 29 (Gage 2018 Rpt.).
269
    ECF No. 812-1 ¶ 45 (Bonner Decl.).
270
    See ECF No. 807-2, at 29 (Gage 2018 Rpt.).
271
    Id.; see also id. at 113 (Patient 19’s infirmary records lacked nursing notes for 12 days over a span of 29
days, including eight days in a row), 130 (Patient 27 was never seen by a mental health provider during a
week-long stay in the infirmary), 136 (Patient 28’s infirmary records lacked a nursing admission note,
nursing notes for ten out of 14 days, and no discharge note).
272
    See generally ECF No. 812-1 (Bonner Decl.); ECF No. 807-2, at 29 (Gage 2018 Rpt.).
273
    See, e.g., Ex. 21, Tr. vol. 22, 22:6-23:12 (Shaw) (admitting that prisoners at EMCF receive punitive rule
violation reports for self-injurious behavior); Ex. 137, PTX-2780 (compilation of rule violation reports
(“RVRs”)) (several for self-mutilating and SIB); Ex. 138, PTX-2783 (Sept. 2, 2016 RVR), Ex. 139, PTX-
2784 (Aug. 27, 2016 RVR), Ex. 140, PTX-2785 (July 14, 2016 RVR), Ex. 141, PTX-2786 (Aug. 18, 2016
RVR), Ex. 142, PTX-2787 (Aug. 27, 2016 RVR), Ex. 143, PTX-2788 (Dec. 11, 2016 RVR), Ex. 144, PTX-


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bodies such as NCCHC and the American Psychiatric Association.274

        Dr. Bonner says that EMCF patients are not punished for behavior that is the product of

mental illness but presents no data, internal reviews, or records to support his assertion.275 Dr.

Bonner also does not dispute Plaintiffs’ evidence of numerous disciplinary and segregation records

that show no involvement of mental health staff in discipline of seriously mentally ill patients276

        K.      Defendants Fail to Provide Adequate Access to Hospital-Level Care

        There is no access to hospital-level care for the most seriously ill EMCF patients.277 EMCF

does not provide that level of care, and does not transfer patients to off-site hospitals.278 Defendants

thus do not follow their own policy requiring “access to clinically indicated healthcare services

that are not available in the facility” and that “[p]atients who meet mental health involuntary

commitment criteria are recommended for transfer to an appropriate psychiatry hospital.”279

        EMCF also does not abide by its policy requiring patients on watch status for more than

72 hours be hospitalized unless there is a documented “clinical justification for continuing the

patient’s treatment at the institution.”280 Defendants admit this is a serious problem.281



2789 (Jul. 21, 2016 RVR), Ex. 145, PTX-2790 (Dec. 14, 2016 RVR), Ex. 109, PTX-2300 (Nov. 9, 2016
RVR), Ex. 110, PTX-2305 (Nov. 3, 2016 RVR) (showing discipline for self-harm).
274
    PTX-1504, at 44 (Gage 2016 Rpt.); Ex. 28, Tr. vol. 29, 16:1-16 (Gage); ECF No. 807-2, at 36 (Gage
2018 Rpt.).
275
    See ECF No. 812-1 ¶ 53 (Bonner Decl.).
276
    See, e.g., ECF No. 807-2, at 35 (Gage 2018 Rpt.).
277
    See id.
278
    PTX-1504, at 39 (Gage 2016 Rpt.); Ex. 28, Tr. vol. 29, 20:8-11 (Gage); id. at 17:16-19:17 (Gage)
(deficient EMCF mental health services result in patients deteriorating to the point where they need to be
hospitalized); ECF No. 807-2, at 36 (Gage 2018 Rpt.).
279
    PTX-1504, at 39 (Gage 2016 Rpt.); see also Ex. 98, PTX-2058, at D-05 (EMCF healthcare policies and
procedures). This policy is not followed at EMCF. Acutely ill patients suffer at EMCF as a result, and place
others at risk. See PTX-1504, at 39 (Gage 2016 Rpt.); Ex. 28, Tr. vol. 29, 20:8-14 (Gage); Ex. 25, Tr. vol.
26, 46:24-47:8, 52:12-54:11 (Gage) (describing failure to hospitalize Patient 9, who later assaulted staff);
Ex. 25, Tr. vol. 26, 81:11-83:6 (Gage) (failure to hospitalize Patient 8); Ex. 28, Tr. vol. 29, 21:17-22:4
(Gage) (discussing risks from failing to hospitalize).
280
    PTX-1504, at 39 (Gage 2016 Rpt.).
281
    Ex. 22, Tr. vol. 23, 34:1-38:23 (Perry) (admitting patients at EMCF are held on watch or observation for
an average of 22 days, without documented consideration for hospitalization); Ex. 154, JTX-68, at 24 (Dec.


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        As a result, acutely ill EMCF patients in need of hospitalization suffer needlessly. They

grow more symptomatic, engage in violent altercations and acts of self-harm, are subject to

multiple instances of emergency involuntary treatment after crises, and are housed in isolation that

predictably makes them more ill.282 As of last October, one of these men was housed in Unit 5,

where he “remained floridly psychotic and had grandiose and paranoid delusions, . . . believ[ing]

he was Jesus Christ and could control light and raise the dead,”283 and threatened to “kill people . . .

with magic.”284 EMCF’s failure to hospitalize this patient “represents a serious risk in terms of his

future functional ability and likely response to treatment.”285

        L.      Defendants Fail to Provide Adequate Mental Health Staffing

        Mental health staffing is inadequate to serve the needs of the Mental Health Subclass and

many of the staff do not possess the skill needed to serve the seriously mentally ill.286 Staffing

should be based on a plan assessing the treatment needs of EMCF patients, but no such staffing

plan exists at EMCF.287 The caseloads for MHPs assigned to Unit 3, the so-called residential

treatment unit, are particularly unreasonable; they range up to 104 or 112 patients per MHP, where

industry standard is only 30 patients.288 Essential mental health services are virtually absent as a




2017 audit) (patients with three week stays on observation without hospitalization), 25 (“[i]f crises are
lasting two weeks and beyond without stabilization, staff should be referring the patient to a more suitable
treatment location or demonstrating attempts at intensive treatment interventions beyond ‘observation’”).
282
     ECF No. 807-2, at 36 (Gage 2018 Rpt.) (two “grossly psychotic and unstable” patients needing
hospitalization who remained in isolation in medical unit for months “without being stabilized,” ended up
in segregation “because they were too out of control to be on residential mental health units.”).
283
    Id. at 99.
284
    Id. at 106.
285
    Id.
286
    Ex. 28, Tr. vol. 29, 28:21-29:15 (Gage) (number of counselors is inadequate), 30:4-15 (counselors’
performance uniformly inadequate); PTX-1504, at 33-34 (Gage 2016 Rpt.) (training materials are of “mixed
quality”).
287
    PTX-1504, at 21 (Gage 2016 Rpt.); Ex. 28, Tr. vol. 29, 28:9-20 (Gage); ECF No. 807-2, at 44 (Gage
2018 Rpt.) (“Mental health staffing is insufficient to provide adequate services.”).
288
    ECF No. 807-2, at 46 (Gage 2018 Rpt.).


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result of the understaffing and poorly performing staff.289

        In addition, medical records demonstrate repeated changes in clinicians.290 This

undermines the patient-clinician relationship and, along with poor medical recordkeeping and

charting, assures no reliable measurement of treatment progress and violates EMCF policy.291

        In response, Dr. Bonner provides a summary of the services each staff member is supposed

to provide in various housing units at EMCF.292 None of the staff members he lists are new, and

Dr. Bonner does not provide any data or evidence as to the quality of services they provide, or

whether these services are actually being provided.293 Thus, Plaintiffs’ evidence and Defendants’

own data showing that MHP performance is dangerously substandard are uncontroverted. Dr.

Bonner does not dispute Dr. Gage’s findings that the caseloads for the MHP staff are excessive

and undermine their ability to provide adequate care.294 Dr. Bonner merely states that the prison

recently hired a psychologist.295 While this is a positive development, it does not establish that

Defendants have irrevocably remedied the serious shortcomings in staffing and staff performance.

        M.      Remedies

        Dr. Gage recommends that EMCF implement an adequate intake process that includes a

more detailed nursing and mental health staff screen; a thorough assessment of patients;

individualized and comprehensive treatment plans; improved crisis response that includes after-


289
    PTX-1504, at 33-34 (Gage 2016 Rpt.); ECF No. 807-2, at 46 (Gage 2018 Rpt.) (“There is simply no
way for an MHP with these caseloads to provide individual and group therapy, crisis response, intake,
assessment, treatment team planning, and case management to this number of patients.”). Defendants admit
this. See Ex. 154, JTX-68, at 4, 28 (Dec. 2017 audit) (“MDOC mental health leadership reported significant
concerns about the services provided by Centurion. In particular, challenges at EMCF were discussed
including the need to fill critical vacancies as well as provide more intensive clinical services for patients
with serious mental illness,” and not every Unit 3 patient is able to attend groups due to understaffing.).
290
    ECF No. 807-2, at 44 (Gage 2018 Rpt.).
291
    PTX-1504, at 60 (Gage 2016 Rpt.).
292
    ECF No. 812-1 ¶ 15 (Bonner Decl.).
293
    Id.
294
    Id.
295
    ECF No. 812-1 ¶ 14 (Bonner Decl.).


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hours crisis response and crisis plans; mental health staff involvement deescalating an encounter

with a patient before a planned use of force and in the disciplinary process; reducing the number

of seriously mentally ill housed in restrictive settings; greater access to group and individual

therapy; more rigorous standards for psychiatric prescribing and medication monitoring; better

suicide prevention procedures; increased mental health involvement in housing placement

decisions; availability of hospital-level care for SMI patients; better quality management; true

residential treatment programs with structured treatment; and a revised staffing plan based on the

population treatment needs.296

III.     Claim Three—Isolation

         Isolation, or solitary confinement, consists of conditions in which a prisoner is confined in

his cell for 22 hours a day or more.297 At EMCF, these conditions exist predominantly in Unit 5,

but also exist in the Medical and Intake Units.298 All prisoners held in such conditions are members

of the Isolation Subclass.

         Dr. Terry Kupers was qualified at trial as an expert in the “psychiatric effects of the

conditions of solitary confinement on prisoners in general and at [EMCF].”299 Dr. Kupers is a

clinical psychiatrist with more than three decades of experience studying the psychiatric effects of

solitary confinement, including in prisons in 20 states across the country.300 The conditions in

solitary confinement at EMCF are the worst Dr. Kupers has ever seen.301 Defendants presented no

expert testimony regarding isolation, and Dr. Kupers’s testimony is therefore unrebutted.

         A.     Defendants Regularly Subject the Isolation Subclass to Long-Term Isolation


296
    ECF No. 807-2, at 47-49 (Gage 2018 Rpt.).
297
    Ex. 15, Tr. vol. 16, 19:19-20:2 (Kupers).
298
    Ex. 13, Tr. vol. 14, 18:6-18:8; 19:1-19:12 (Donald); Ex. 15, Tr. vol. 16, 20:8-25 (Kupers).
299
    Ex. 14, Tr. vol. 15, 119:15-120:22.
300
    See Ex. 14, Tr. vol. 15, 104:2-24, 105:16-109:6 (Kupers); Ex. 83, PTX-1497 (Kupers CV).
301
    Ex. 16, Tr. vol. 17, 18:13-19:8 (Kupers).


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        Solitary confinement causes “psychiatric symptoms such as severe anxiety, depression and

aggression even in relatively healthy prisoners,” as well as other symptoms such as “nervousness,

headaches, troubled sleep, lethargy or chronic tiredness . . . nightmares, heart palpitations,

obsessive ruminations confused thinking, irrational anger, chronic depression, and fear of

impending nervous breakdowns.” 302 In clinical research, “[n]early half of persons [in isolation]

suffered from hallucinations and perceptual distortions, and a quarter experienced suicidal

ideation.”303 Suicide is about twice as prevalent in solitary confinement as in general prison

populations.304 These are only some of the many serious symptoms caused by prolonged solitary

confinement.305 Defendants’ witnesses agreed that isolation causes serious harm.306

        Because of the well-known harm solitary confinement causes, the National Commission

on Correctional Health Care has taken the position that “[p]rolonged (greater than 15 consecutive

days) solitary confinement is cruel, inhumane, and degrading treatment, and harmful to an

individual’s health.”307 The 15-day limit is crucial, because the harm of isolation continues to

increase with the length of time a person is held there; a prisoner in solitary confinement for months

or years will continue to suffer increasingly worse harm.308

        Members of the Isolation Subclass are routinely held in solitary confinement for months or

years.309 Often, they are not given a clear roadmap for how to get out of isolation and return to



302
    Ex. 77, PTX-1506, at 12-13 (Kupers 2016 Rpt.).
303
    Id. at 11
304
    Id. at 15.
305
    See generally Ex. 85, PTX-1503 (Kupers 2014 Rpt.); Ex. 77, PTX-1506 (Kupers 2016 Rpt.).
306
    See Ex. 32, Tr. vol. 34, 45:7-11, 60:8-15 (Pickering) (former EMCF mental health professional agreeing
that “segregation can have highly adverse effects on somebody’s mental health”).
307
    Ex. 77, PTX-1506 at 15.
308
    Ex. 15, Tr. vol. 16, 35:23-38:20 (Kupers).
309
    Ex. 15, Tr. vol. 16, 35:19-22 (Kupers); Ex. 10, Tr. vol. 11, 75:19-76:6 (Grogan) (in isolation from 2014
up to trial); Ex. 14, Tr. vol. 15, 68:14, 68:21 - 69:2 (Mitchell) (in isolation since arriving at EMCF two-and-
a-half years before trial); Ex. 21, Tr. vol. 22, 31:19-25 (Long) (in isolation for about two-and-a-half years);
Ex. 17, Tr. vol. 18, 70:9-70:22 (Dockery) (was in isolation for about one year).


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general population. Prisoners are housed in segregation for months longer than appropriate for no

reason.310 Staff fail to regularly review their status and do not timely release them from isolation.311

Defendants’ contract monitor’s monthly reports show that staff routinely fail to abide by policies

requiring that prisoners receive written detention notices when placed in solitary confinement

(non-compliant in 21 out of 27 months), that the status of those prisoners is timely reviewed (non-

compliant in 25 out of 27 months); and that MDOC is notified when a prisoner is held in

administrative segregation for more than 30 days (non-compliant in 27 out of 27 months).312 As a

result, Isolation Subclass members are needlessly subject to heightened risk of harm.

        B.       Defendants Fail to Provide the Isolation Subclass with Recreation and Hygiene

        Prisoners held in solitary confinement at EMCF are required to receive one hour per day

of out-of-cell recreation time, five times per week, and three showers per week.313 But in practice,

“prisoners get far less than five hours of recreation, sometimes none, in a week, and far less than

three showers a week, often none.”314 Defendants could not meaningfully rebut the evidence that

recreation and showers are lacking. Ken McGinnis observed that segregation staff were “struggling

with documentation of [recreation and showers] in the picket log,”315 and Tom Roth was unable

to verify the frequency of showers and recreation because of that poor documentation.316 Prisoners

who are held in isolation in the medical and intake units receive even less access to recreation and


310
    See Ex. 77, PTX-1506, at 27-28 (prisoners report not knowing how to get out of segregation); Ex. 38,
PTX-616 (Aug. 19, 2014 email) (error resulted in no investigations conducted for months, with Isolation
Subclass members languishing in isolation).
311
    Ex. 16, Tr. vol. 17, 12:10-13:12 (Kupers).
312
    Ex. 149, PTX-2806 (demonstrative summary); Ex. 96, PTX-1936 (monitor’s weekly reports – 2014),
Ex. 97, PTX-1939 (monitor’s monthly reports – 2015), Ex. 92, PTX-1934 (monitor’s monthly worksheets
– 2016), JTX-061 (compilations of monthly reports by year).
313
    See Ex. 16, Tr. vol. 17, 8:1-11 (Kupers); Ex. 110, PTX-2082, at 10, 12 (MDOC Offender Segregation
Policy).
314
    Ex. 15, Tr. vol. 16, 22:1-3; Ex. 16, Tr. vol. 17, 8:22-6 (Kupers); see also Ex. 14, Tr. vol. 15, 70:2-70:21
(Mitchell); Ex. 10, Tr. vol. 11, 82:18-83:15 (Grogan).
315
    Ex. 34, Tr. vol. 36, 58:16-58:23 (McGinnis).
316
    Ex. 31, Tr. vol. 33, 110:25-112:7 (Roth).


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are left with almost nothing to do, given their lack of access to television or reading material.317

        Because Isolation Subclass members do not receive even this minimal access to out-of-cell

recreation and showers, they are subjected to a heightened risk of psychological harm.318 They

also suffer from “further disorganization of life” due to deprivation of the limited privileges to

which they are entitled, all of which worsen mental health symptoms of isolation.319

        C.      Defendants Fail to Maintain Adequate Staffing and Conditions in Isolation

        Maintaining the good mental health of prisoners requires clean, well-organized settings

that function according to expectations.320 Extraordinarily chaotic conditions in isolation at EMCF

violate this precept. On cause of these conditions is that officers rarely enter the cell pods in Unit

5 except when physically required to, at the start of their shifts, when they are handing out meals

or supervising medication administration, or when responding to some crisis like a fire.321 Though

the cells in Unit 5 generally have panic buttons, officers do not respond when they are pressed—

either because the buttons do not work or because staff ignore them.322

        As a result, Isolation Subclass members suffering from injury, illness, or some other

emergency condition may go hours without staff noticing or taking action. When staff routinely

fail to respond to such basic needs, the result is despair and psychological decompensation.323 It

also causes Isolation Subclass members to take “extreme” or “bizarre” actions to “seek[] some

attention to their urgent mental health problems,” including setting fires on a daily or near-daily




317
    Ex. 77, PTX-1506, at 56-59.
318
    Ex. 16, Tr. vol. 17, 9:9-18 (Kupers).
319
    Ex. 16, Tr. vol. 17, 9:19-10:6 (Kupers).
320
    Ex. 15, Tr. vol. 16, 77:6-22 (Kupers).
321
    Ex. 21, Tr. vol. 22, 34:13-35:17 (Long); Ex. 14, Tr. vol. 15, 83:18-84:8 (Mitchell); Ex. 14, Tr. vol. 15,
45:17-19 (Melton); Ex. 17, Tr. vol. 18, 74:3-74:16 (Dockery).
322
    Ex. 77, PTX-1506, at 24-25 (Kupers 2016 Rpt.). See also supra Section I.A.
323
    Ex. 16, Tr. vol. 17, 5:23-7:24 (Kupers).


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basis in every pod on Unit 5.324 Dr. Kupers has never seen so much evidence of fires in any

prison.325 By way of example, in one 16-day period in February and March 2017, there were an

average of more than four fires per day on Unit 5.326 Prisoners take other extreme actions, like

flooding the cell area by overflowing their toilets or sinks or throwing feces, to get attention.327

Even with these extreme actions, prisoners cannot be assured that staff will respond.328

        Other conditions in isolation are also poor. Prisoners go days or weeks without functioning

lights, without which they cannot even read or write, which exacerbates the psychological harm of

isolation.329 Defendants’ staff agreed that prisoners should not be housed in cells without working

lights.330 Yet the problem repeatedly appears in contract monitor reports.331

        Prisoners in isolation are also placed at serious risk of physical injury, from others and

themselves. Even in segregation, Plaintiffs are at constant risk of physical assault.332 In addition,



324
    Ex. 15, Tr. vol. 16, 49:5-12 (Kupers); Ex. 21, Tr. vol. 22, 32:2-23 (Long) (near-daily fires on Unit 5A);
Ex. 8, Tr. vol. 9, 76:19-25, 109:25-110:4 (Pugh) (fires near-daily from 2015-17 on Unit 5); Ex. 14, Tr. vol.
15, 77:14-24 (Mitchell) (has seen fires on every Unit 5 pod); Ex. 14, Tr. vol. 15, 44:21-45:2 (Melton) (saw
fires every day on Unit 5). “Nine times out of ten,” prisoners must set fires in order to get staff attention for
urgent needs. Ex. 14, Tr. vol. 15, 84:9-10 (Mitchell). See also supra Section I.A; infra Section VI.
325
    Ex. 15, Tr. vol. 16, 49:15-18 (Kupers).
326
    Ex. 150, PTX-2809 (demonstrative summary) (fires on Unit 6); Ex. 86, PTX-1767 (Feb. 2017 Unit 5
logbook).
327
    Ex. 15, Tr. vol. 16, 49:5-18 (Kupers); Ex. 21, Tr. vol. 22, 57:22-58:17 (Hickman-Estes).
328
    Ex. 87, PTX-1771, at 17 (Mar, 13, 2017 Unit 5 logbook) (fire was burning on Unit 5A and an officer
declined to put it out).
329
    Ex. 10, Tr. vol. 11, 80:12-80:17 (Grogan) (has gone two weeks without a light); Ex. 14, Tr. vol. 15,
45:20-46:3 (Melton) (has gone up to two weeks without a light); Ex. 14, Tr. vol. 15, 70:24-71:24 (Mitchell)
(has gone up to a week without a light); Ex. 17, Tr. vol. 18, 71:8-72:5 (Dockery) (has gone up to two weeks
without a light); Ex. 21, Tr. vol. 22, 73:11-21 (Hickman-Estes) (has gone one-and-a-half weeks without a
light); see also supra Section II.E-F
330
    Ex. 13, Tr. vol. 14, 85:23-88:8 (Donald); see also Ex. 12, Tr. vol. 13, 25:10-20 (Compton) (admitting he
is responsible for ensuring prisoners have working lights).
331
    Ex. 146, PTX-2798 (demonstrative summary) (concerns related to lights).
332
    See, e.g., Ex. 54, PTX-972 (Aug. 18, 2015 email); Ex. 53, PTX-968 (Nov. 20, 2015 email); Ex. 67, PTX-
1052 (Jun. 15, 2016 incident report); Ex. 123, PTX-2570 (Sep. 14, 2016 incident report); Ex. 124, PTX-
2583 (Nov. 10, 2016 incident report); Ex. 128, PTX-2650 (Apr. 11, 2017 incident report); Ex. 14, Tr. vol.
15, 87:14-88:17 (Mitchell) (stabbed in segregation in 2016 while he was restrained); Ex. 21, Tr. vol. 22,
36:12-42:10 (Long) (assaulted in segregation, by the same assailant, twice between November 2017 and
January 2018).


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the degree of self-harm at EMCF is unheard of in a facility housing adult men.333 These self-harm

incidents are provoked by severe mental anguish, anxiety, and the need to attract staff attention for

urgent needs.334 Isolation Subclass plaintiffs inflicted injuries on themselves so severe that they

had to be taken to the hospital on numerous occasions.335 The prevalence of self-harm among the

Isolation Subclass is a manifestation of the psychological degradation and resulting risk of harm

to prisoners in solitary confinement there. But even severe self-harm does not always trigger a

prompt staff response.336 Unit 5 manager Tony Donald admitted that Isolation Subclass members

who harm themselves are only removed from solitary confinement if they need medical attention

and are returned there after being treated.337

        Finally, MDOC policy perpetuates the risk of self-harm from extended solitary

confinement by punishing prisoners who set fires or commit acts of self-harm are with additional

time in solitary confinement, likely to exacerbate the very conditions giving rise to that behavior.338

Defendants’ staff admitted that this contributes to a “continuous cycle” of self-harm amongst those

Isolation Subclass members.339 Defendants have known of all of these harms for years.340

        D.      Remedies

        Dr. Kupers recommends that no Plaintiff be held in conditions of isolation for more than


333
    Ex. 15, Tr. vol. 16, 49:2 (Kupers).
334
    Ex. 15, Tr. vol. 16, 49:19-52:6 (Kupers).
335
    Ex. 55, PTX-995 (July 15, 2015 incident report); Ex. 56, PTX-998 (Oct. 3, 2015 incident report); Ex.
60, PTX-1005 (Jan. 21, 2016 incident report); Ex. 57, PTX-1000 (Jan. 29, 2016 incident report); Ex. 58,
PTX-1002 (Feb. 2, 2016 incident report); Ex. 59, PTX-1003 (Feb. 27, 2016 incident report); Ex. 64, PTX-
1030 (Apr. 12, 2016 incident report); Ex. 69, PTX-1271 (Apr. 16, 2017 incident report); Ex. 133, PTX-
2705 (May 31, 2017 incident report).
336
    See, e.g., Ex. 21, Tr. vol. 22, 60:10-63:17 (Hickman-Estes) (Mr. Hickman-Estes cut himself while staff
were performing a count, but staff ignored him; despite also setting a fire in his cell, Mr. Hickman-Estes
was not removed from his cell until more than seven hours later when the next shift came in and called for
a medical emergency).
337
    Ex. 13, Tr. vol. 14, 71:20-72:3 (Donald).
338
    Ex. 112, PTX-2794, at 11-12 (MDOC Disciplinary Policy).
339
    Ex. 13, Tr. vol. 14, 74:20-75:1 (Donald).
340
    See, e.g., Ex. 85, PTX-1503 (Kupers 2014 Rpt.); Ex. 77, PTX-1506 (Kupers 2016 Rpt.).


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14 days. Any Plaintiff placed in isolation must receive a prompt mental health evaluation sufficient

to determine whether his mental health status means isolation is contraindicated; if it is

contraindicated, the prisoner should be excluded from isolation.

IV.     Claim Four—Excessive Force

        Defendants subject Plaintiffs to a substantial risk of serious harm from excessive force

wielded by EMCF staff. Eldon Vail, who testified about this claim, was qualified as an expert on

correctional practices and security, including safety and security conditions and the use of force in

prisons.341 Mr. Vail has nearly 35 years of experience in corrections and headed the Washington

State Department of Corrections from 2007 to 2011.342 Mr. Vail testified that Defendants’ policies

and practices concerning the use of force expose Plaintiffs to a substantial risk of serious harm.

        A.      Defendants’ Policies and Practices Expose Plaintiffs to Excessive Force by Staff

        At EMCF, use of force by staff against prisoners is either spontaneous (“SUOF”) or

planned (“PUOF”).343 SUOFs are appropriate when an “inmate presents an immediate or imminent

risk of harm,” such as before an imminent assault.344 Other uses of force should be planned, with

one goal being to deescalate the situation to the extent possible and another being to avoid

unnecessary risk of harm to both prisoners and staff.345 This is particularly important at EMCF,

since mentally ill prisoners may be unable to immediately conform their actions to staff orders.346

For mentally ill prisoners, attempts by mental health staff to de-escalate may avert the need for

force more than half the time.347



341
    Ex. 1, Tr. vol. 2, 108:19-109:21 (Vail).
342
    See Ex. 84, PTX-1499 (Vail CV).
343
    Ex. 3, Tr. vol. 4, 48:8-11 (Vail.)
344
    Ex. 78, PTX-1507, at 34 (Vail 2016 Rpt.).
345
    Id.
346
    Ex. 1, Tr. vol. 2, 132:12-133:1 (Vail).
347
    Ex. 1, Tr. vol. 2, 135:17-21 (Vail).


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        MDOC’s policy regarding use of force provides that force should be used as a last resort,

and that when possible, force should be planned, should involve verbal intervention, and should

incorporate mental health staff intervention when used against mentally ill prisoners.348 But EMCF

staff does not follow these principles. As a result, the overall incidence of staff use of force at

EMCF is extraordinarily high and has only increased further over time.349 There are several

specific shortcomings in EMCF staff’s approach to use of force, each of which was corroborated

by reports from Defendants’ contract monitor.350

        First, staff routinely engage in SUOFs in instances when the prisoner poses no imminent

threat, including many cases in which the prisoner is locked behind a cell door.351 Officers

routinely spray chemical agents into cells for minor rule violations like refusing to close tray

flaps.352 In these situations, the appropriate response is for staff to treat the situation as a PUOF,

allowing for the situation to be de-escalated.353 Second, when staff does use planned force, de-

escalation by mental health staff is done poorly or not at all.354

        Defendants know that staff use of excessive force against Plaintiffs at EMCF. Defendant

Williams, MDOC’s Deputy Commissioner, testified that he reviews, or should review, every use




348
    Ex. 99, PTX-2074 (MDOC Use of Force Policy).
349
    Ex. 3, Tr. vol. 4, 50:3-7 (Vail). Mr. Vail reviewed documentation and videos provided up until the close
of discovery in mid-2017 and found that all of the conditions identified in this section continued at least
through that time. Ex. 4, Tr. vol. 5, 16:14-16 (Vail).
350
    Ex. 78, PTX-1507, at 33-37 (Vail 2016 Rpt.).
351
    Ex. 3, Tr. vol. 4, 48:8-11,59:22-60:1 (Vail).
352
    Ex. 17, Tr. vol. 18, 51: 6-52:8 (Jones); Ex. 10, Tr. vol. 11, 99:10-100:23 (Grogan); Tr. vol. 9 42:15-21
(Beasley). Ex. 68, PTX-1238; Ex. 70, PTX-1369; Ex. 71, PTX-1371; Ex. 115, PTX-2460; Ex. 116, PTX-
2470; Ex. 117, PTX-2478; Ex. 118, PTX-2482; Ex. 119, PTX-2486; Ex. 120, PTX-2490; Ex. 125, PTX-
2608; Ex. 126, PTX-2609; Ex. 127, PTX-2647; Ex. 129, PTX-2689; Ex. 130, PTX-2691; Ex. 131, PTX-
2698; Ex. 132, PTX-2701; Ex. 135, PTX-2766; Ex. 136, PTX-2767 (incident reports showing use of
chemical spray against prisoners locked in cells or other confined areas between August 4, 2014 and April
3, 2017).
353
    Ex. 3, Tr. vol. 4, 56:13-18 (Vail).
354
    Ex. 3, Tr. vol. 4, 53:8-10 (Vail); see also supra Section II.C.


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of force that happens at EMCF.355 And the EMCF contract monitor routinely provides MDOC

with statistics illustrating these systemic issues with use of force.356

        B.      Remedies

        Mr. Vail recommends that Defendants should be required to establish policies and practices

mandating the use of effective de-escalation, increase mandatory use-of-force training of staff, and

enhance supervisory review of force incidents to enhance accountability and discipline of staff

who violate policy, as well as the appointment of a monitor to oversee and ensure compliance.357

V.      Claim Five—Protection from Harm

        Defendants severely understaff EMCF. As a result, Plaintiffs are exposed to a substantial

risk of serious harm arising from gang control of the prison, doors and locks that go unsecured,

and assaults, among other risk threats. As Mr. Vail testified, these problems are fundamentally a

matter of Defendants’ decision to systematically understaff EMCF.

        A.      Defendants Fail to Adequately Staff or Fill Mandatory Posts at EMCF

        There are two categories of staffing problems at EMCF. First, Defendants have

implemented a staffing plan at EMCF that sets an inadequate number of “mandatory posts” on

each shift—that is, roster positions that must always be filled by security staff.358 Second, in

practice, Defendants too frequently fail to fill even that inadequate number of posts.359 The result

is a prison so severely understaffed that Plaintiffs are at persistent risk of harm.

        First, EMCF’s staffing plan, which provides the minimum number of officers who are




355
    Ex. 12, Tr. vol. 13, 125:9-17; 126:1-6 (Williams).
356
    See Ex. 149, PTX-2806 (demonstrative summary); Ex. 96, PTX-1936 (monitor’s weekly reports – 2014),
Ex. 97, PTX-1939 (monitor’s monthly reports – 2015), Ex. 92, PTX-1934 (monitor’s monthly worksheets
– 2016), JTX-061 (monitor’s monthly worksheets – 2017.
357
    Ex. 3, Tr. vol. 4, 69:8-70:1 (Vail).
358
    See ECF No. 801-1, at 5-10 (Vail 2018 Rpt.).
359
    See id. at 12-15.


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mandated to work on any given shift and their positions, creates a problem of systematic

understaffing at EMCF.360 On first and second shifts,361 there should be at least one officer

assigned to each of the four cell “pods” on each housing unit that houses minimum or medium

custody prisoners, and at least two officers per pod on each housing unit that houses close custody

or segregation prisoners.362 Such minimally adequate staffing is critical in a facility like EMCF

that houses a large proportion of mentally ill people, who may tend to be more volatile and require

closer supervision.363 That is especially true in Units 5 and 6, which house close custody and

segregation populations, and where inadequate staffing causes a substantial risk of serious harm

because prisoners entirely rely on staff for showers, recreation, transport to other parts of the

facility, food and medication delivery, protection from harm, and all other needs.364

        Thus, a minimally acceptable staffing plan at EMCF would require four mandatory posts

assigned to each of Units 1 through 4, eight mandatory posts on Unit 5, and five mandatory posts

on Unit 6.365 Instead, Defendants staff EMCF at about half that level, requiring only two officers

on Units 1 through 4 and three officers on each of Units 5 and 6.366

        Defendants’ own staff have stated that EMCF is systemically understaffed. The contract

monitor, Vernell Thomas, wrote to Deputy Warden Tony Compton that staffing each housing unit

with only two officers “is not only unsafe to the offenders but to the staf[f] as well,” and asked,

“WHEN are we going to correct this serious matter[?]”367 Several months later, Ms. Thomas



360
    See Ex. 2, Tr. vol. 3, 5:25-6:3 (Vail); ECF No. 801-1, at 8-11 (Vail 2018 Rpt.).
361
    First shift lasts from 7 a.m. to 3 p.m., and second shift lasts from 3 p.m. to 11 p.m. See Ex. 78, PTX-
1507, at 19 (Vail 2016 Rpt.).
362
    Ex. 2, Tr. vol. 3, 5:25-6:4; 22:20-25; 63:21-25 (Vail).
363
    Ex. 2, Tr. vol. 3, 23:3-7 (Vail).
364
    See ECF No. 801-1, at 9 (Vail 2018 Rpt.).
365
    Id. at 7.
366
    Id.
367
    Ex. 46, PTX-715 (Apr. 16, 2015 email).


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specifically recommended to Mr. Compton that staffing levels be increased to levels similar to

those identified above.368 Tony Donald, EMCF Unit 5 Manager, testified that Unit 5 needed a

minimum of seven or eight officers on each of the first and second shifts—well above current

staffing levels and akin to the recommendation above—to run Unit 5 properly.369 Tom Roth,

Defendants’ retained correctional expert witness, stated in 2015 that another MDOC facility—

which had a substantially similar design to EMCF, housed fewer prisoners, and was not specially

designated to house mentally ill prisoners—was appropriately staffed with a minimum of one

officer per pod, precisely what should be required at EMCF.370

        Defendants suggest the current staffing plan is adequate because EMCF is designed as an

“indirect supervision” facility, allowing officers to supervise prisoners without being physically

present on the housing pods.371 Regardless of the merits of “indirect supervision” as a staffing

principle, at EMCF its implementation has failed to keep prisoners safe, as shown by the many

risks of harm and instances of actual harm Plaintiffs experience at EMCF.

        Second, Defendants also consistently fail to staff even the limited number of mandatory

posts required by their staffing plan.372 Mr. Vail’s post-trial review of staffing rosters indicated

that, more than one-third of the time, one or more mandatory posts went unfilled from January to

August 2018.373 Even Defendants’ expert Mr. Roth observed that a large number of mandatory

posts appeared to be vacant in 2018.374 At trial and in Mr. Roth’s 2018 report, Defendants suggest




368
    Ex. 41, PTX-636 (Jul. 31, 2015 email).
369
    Ex. 13, Tr. vol. 14, 25:10-26:16 (Donald).
370
    See ECF No. 801-1, at 12 (Vail 2018 Rpt.).
371
    ECF No. 812-2, at 8 (Roth 2018 Rpt.).
372
    See ECF No. 801-1, at 12 (Vail 2018 Rpt).
373
    Id. at 13.
374
    ECF No. 812-2, at 20 (2018 Roth Rpt.).


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that the staffing rosters do not reflect reality.375 But that runs directly contrary to the testimony of

EMCF’s chief of security, Christopher Dykes, who when asked “with respect to [staffing] rosters”

if the “post is left blank [on the roster], it reflects that the post is not filled,” responded simply

“Yes.”376 Moreover, as Defendant Williams testified, “mandatory posts should never go

unfilled.”377 And Deputy Warden Compton acknowledged that the number of mandatory posts has

“been deemed the minimum number of staff necessary to operate the prison safely.”378 Thus, it

would be a serious problem in itself if Defendants’ staffing rosters were so consistently wrong.

But Defendants offered no evidence to support their contention that vacant posts are in fact being

staffed.379 Instead, the evidence, including staff testimony and the risks and manifestations of harm

Plaintiffs suffer at EMCF, is consistent with a chronically understaffed prison.

        Defendants also point to their voluntary addition of staff from the contractual minimum of

136 to 177 as a reason EMCF is not chronically understaffed.380 But while there may be more

names on the payroll, there is no evidence that these additional staff are being meaningfully

deployed at EMCF. Mr. Vail found in 2018 that there are no more officers working at the prison

on any given shift than before.381 The number of mandatory posts remains unchanged, and they

frequently continue to go unfilled.382 Even if the extra staff did remedy EMCF’s security problems

(which they do not), there is nothing prohibiting Defendants from firing the additional staff at any




375
    ECF No. 801-1, at 14 (Vail 2018 Rpt.); Ex. 12, Tr. vol. 13, at 101:1-3 (Williams) (suggesting the rosters
may not reflect reassignments of non-mandatory posts to mandatory ones); Ex. 20, Tr. vol. 21, at 97:22-
98:8 (Shaw); ECF No. 812-2, at 20-21 (Roth 2018 Rpt.).
376
    Ex. 6, Tr. vol. 7, 15:22-25 (Dykes).
377
    Ex. 12, Tr. vol. 13, 102:7 (Williams).
378
    Ex. 12, Tr. vol. 13, 77:18-21 (Compton).
379
    ECF No. 801-1, at 14 (Vail 2018 Rpt.).
380
    Ex. 30, Tr. vol. 32, 72:17-21 (Shaw).
381
    ECF No. 801-1, at 10-11 (Vail 2018 Rpt.).
382
    Id.


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time, since they are not mandated by MDOC’s contract with MTC.383

        B.       Defendants’ Inadequate Staffing Practices Cause Risks of Harm to Plaintiffs

        Defendants’ inadequate staffing creates a substantial risk of serious harm to Plaintiffs that

manifests in many ways, prompting the contract monitor to routinely identify “basic and

rudimentary correctional issues that should only occur rarely as an exception” in her reports.384

        First, in lieu of adequate staff, gangs have assumed control of EMCF.385 Gang members

decide where prisoners will be housed; they work in the kitchen and in isolation units, allowing

them to control prisoners’ access to nutrition; they seize control of showers, preventing other

prisoners from using them.386 Ms. Thomas noted repeatedly in weekly reports to MDOC that gang

members work unsupervised on segregation pods, giving them unimpeded access to enemies.387

She wrote on October 12, 2015 that prisoners had “take[n] over running the prison” and were able

successfully to prevent staff from moving other prisoners into a new housing unit.388 Not only do

staff fail to prevent gangs from seizing control, but in fact they depend on the gangs to run the

facility.389 The risk of harm created by gang and prisoner control over EMCF has manifested many

times in assaults and extortion. One prisoner was tied up and sodomized for four hours by gang

members who thought he stole their drugs while officers did not intervene; later he was extorted




383
    See Ex. 30, Tr. vol. 32, 73:6-8. (Shaw) (acknowledging EMCF is operating above contractually required
levels of staff and failing to identify any reason he could not reduce staff to those levels).
384
    Ex. 1, Tr. vol. 2, 120:24-121:8 (Vail).
385
    See Ex. 4, Tr. vol. 5, 78:13-20 (Barrett); Ex. 7, Tr. vol. 8, 51:6-51:11 (Combs) (as of trial, gang control
was the worst it had ever been).
386
    Ex. 16, Tr. vol. 17, 79:5-22 (Hale); Ex. 17, Tr. vol. 18, 41:16-42:6 (Jones); Ex. 17, Tr. vol. 18, 87:14-
88:08 (Dockery); Ex. 24, Tr. vol. 25, 22:19-23:13 (Campbell).
387
    Ex. 11, Tr. vol. 12, 81:16-97:6 (Thomas); Ex. 45, PTX-713 (May 5, 2015 email) (gang members “have
been here at EMCF so long, that they seem to be running things, even though some are in the seg units”);
Ex. 43, PTX-640 (Jul. 15, 2015 email) (gangs control EMCF, noting “these issues are all over EMCF but
the seg units are the worst”).
388
    Ex. 40, PTX-625 (Oct. 12, 2015 email).
389
    See Ex. 17, Tr. vol. 18, 26:23-27:3 (Jones).


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by gang members and had to be moved to segregation.390 Many others had similar experiences.391

        Defendants know about gang control of EMCF. Ms. Thomas informed them repeatedly of

the problem, though she seemed to know her efforts to fix this issue would fall on deaf ears, writing

in a July 15, 2015 email, “You advised [we] would meet today about some of these issue[s], but

you and I both know it’s not going to happen.”392 In an October 15, 2015 email, Ms. Thomas listed

specific prisoners who were “calling the shots” and “running the offenders [and] staff.”393 At the

time of trial, one of the prisoners identified in that email was still living in the same unit.394

        Second, staff fail to ensure that locks on prisoners’ cell doors close and lock properly.

Prisoners routinely come in and out of their cells at will.395 The problem is “pervasive and

longstanding” and affects all housing units at EMCF.396 It persists: between late 2017 and January

2018, one prisoner was assaulted twice by the same inmate who both times was supposed to be

locked in his cell.397 Another witness recounted that, just the night before he testified at trial,

another prisoner defeated the lock on his cell.398 This chronic problem causes a risk of assaults.399


390
    Ex. 14, Tr. vol. 15, 29:20-36:4, 43:3-16 (Melton).
391
    Ex. 17, Tr. vol. 18, 79:18-81:23 (Dockery) (in 2017, assaulted on Unit 1C by three gang members, who
forced him to stay in his cell for three days, while staff failed to intervene); Ex. 8, Tr. vol. 9, 23:13-19
(Mata) (Jan. 2018 gang standoff resulted in stabbing; gay prisoners routinely robbed and assaulted by
gangs); Ex. 16, Tr. vol. 17, 76:3-78:2 (Hale) (told by gang members to move off of Unit 1C or he and his
roommate would be assaulted).
392
    Ex. 43, PTX-640 (July 15, 2015 email).
393
    Ex. 39, PTX-624 (Oct. 15, 2015 email).
394
    Ex. 11, Tr. vol. 12, 95:7-17 (Thomas).
395
    See Ex. 4, Tr. vol. 5, 80:23-81:16 (Barrett); Ex. 8, Tr. vol. 9, 90:1-10 (Pugh) (doors not locked on units
1-4); Ex. 8, Tr. vol. 9, 15:20-17:17, 34:12-20 (Mata) (locks on Unit 1 can be manipulated even after being
fixed); Ex. 24, Tr. vol. 25, 60:11-21 (J.H.) (has seen prisoners come out on Unit 4 during lockdowns).
396
    Ex. 3, Tr. vol. 4, 33:9-13 (Vail); see also Ex. 21, Tr. vol. 22, 72:15-73:10 (Hickman-Estes) (from August
14 to December 6, 2015, the doors on Unit 1 never locked, which allowed prisoners to assault Mr. Hickman-
Estes on September 11, 2015).
397
    Ex. 21, Tr. vol. 22, 36:16-42:10 (Long).
398
    Ex. 10, Tr. vol. 11, 69:19-71:8 (Brewer).
399
    On September 29, 2016 (twice); September 30, 2016, October 1, 2016 (twice), October 2, 2016, April
11, 2017, May 22, 2017, and May 24, 2017, prisoners were written up for coming out of their cells during
lockdowns, when the entire population should to be secure behind cell doors. Ex. 111, PTX-2315 (April
11, 2017 rule violation report); Ex. 112, PTX-2318 (May 22, 2017 rule violation report); Ex. 113, PTX-


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Following a September 2014 incident in which a prisoner manipulated his cell door, exited, and

assaulted another prisoner, Warden Shaw assured MDOC officials that EMCF staff would be

disciplined for the incident and briefed about ensuring doors are locked.400 But similar issues

continued to recur for years, with regular notifications to Defendants and their staff.401

        The prevalence of unsecured doors and locks is fundamentally a staffing problem. Steven

Stonehouse, Defendants’ expert witness in detention and correctional locks and doors,402 testified

that the way to ensure doors close and lock properly is to have “staff take measures to correct that

problem.”403 The doors and locks at EMCF are standard in similar prisons nationwide; staff

deficiencies are the only reason EMCF suffers from this problem.404

        Third, Defendants fail to ensure that staff properly conduct counts. Counts—the routine

practice of verifying that prisoners are where they are supposed to be—are critical to the safe and

secure operation of a prison. Defendants’ senior staff agreed.405 Defendants do have adequate

policies in place concerning prisoner counts,406 and senior staff appear to know how to perform

counts properly.407 Nevertheless, in 29 out of 32 months, Ms. Thomas observed that counts were




2319 (May 24, 2017 rule violation report); Ex. 103, PTX-2288 (Sept. 29, 2016 rule violation report); Ex.
104, PTX-2289 (Sept. 30, 2016 rule violation report); Ex. 105, PTX-2290 (second Sept. 29, 2016 rule
violation report); Ex. 106, PTX-2292 (Oct. 1, 2016 rule violation report); Ex. 107, PTX-2293 (Oct. 2, 2016
rule violation report); Ex. 108, PTX-2296 (second Oct. 1, 2016 rule violation report).
400
    Ex. 47, PTX-716 (Sept. 22, 2014 email).
401
    See Ex. 44, PTX-666 (Jul. 2, 2015 email) (informing Dr. Perry of nurse complaints about prisoners freely
coming out of their cells); Ex. 54, PTX-972 (Aug. 18, 2015 email) (prisoner opened a locked door on a
recreation cage in the segregation unit and assaulted another prisoner); Ex. 66, PTX-1044 (May 30, 2016)
Unit 5B prisoner breached his locked door, barricaded the entrance to the pod area, and assaulted another
prisoner).
402
    See Ex. 32, Tr. vol. 34, 14:8-15 (Stonehouse).
403
    Ex. 32, Tr. vol. 34, 41:19-25 (Stonehouse).
404
    See id.
405
    Ex. 12, Tr. vol. 13, 41:11-22 (Compton) (counts are the “number one” priority in corrections); Ex. 5, Tr.
vol. 6, 41:5-7 (Hogans) (accurate counts are vital to the safe operation of EMCF).
406
    Ex. 3, Tr. vol. 4, 7:12-16 (Vail).
407
    Ex. 5, Tr. vol. 6, 38:1-42:16 (Hogans) (testifying about proper count procedure).


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not being conducted properly once per shift as required.408 She also noted in every one of those 32

months that, when performing counts, staff failed to verify that the person in the cell was the person

who was supposed to be there by using bed rosters, checking IDs, or removing cell window

coverings to verify prisoners’ identities.409 Witnesses corroborated that EMCF staff conduct counts

inconsistently and improperly.410 Staff often delegate the task to prisoners.411

        The risk to prisoners created by these failures is apparent. Prisoners are often housed in the

wrong cells, creating the opportunity for assaults—a problem that Mr. Vail has never encountered

at any other prison.412 Prisoners are “held hostage” and assaulted in their cells.413 And prisoners at

EMCF are permitted to cover their cell windows with impunity, impeding staff from knowing what

is occurring in their cells.414

        Ms. Thomas has told Mr. Compton that “counts are not being done even though [staff]

report they are being done.””415 For seven straight months at the end of 2016, she reported the

problem, “Offender decides where he wants to sleep/be housed.”416 For 32 straight months, she

reported that counts were performed improperly.417 Ms. Thomas also directly wrote Mr. Compton



408
    Ex. 147, PTX-2799 (demonstrative summary); Ex. 92, PTX-1934 (monitor’s monthly worksheets –
2016), Ex. 95, PTX-1935 (monitor’s monthly reports – 2014), Ex. 97, PTX-1939 (monitor’s monthly
reports – 2015), JTX-061 (monitor’s monthly worksheets – 2017).
409
    Id.
410
    Ex. 8, Tr. vol. 9, 72:20-73:22, 74:13-74:21, 120:10-12 (Pugh) (officers do not verify who is in the cells,
often only one officer conducts counts instead of two, officers often do not check IDs or use the bed roster);
Ex. 7, Tr. vol. 8, 57:2-10 (Combs) (officers perform counts inconsistently).
411
    Ex. 7, Tr. vol. 8, 104:19-20 (Clemons) (inmates perform counts); Ex. 17, Tr. vol. 18, 32:22-33:19 (Jones)
(personally assisted in counts on a daily basis); Ex. 24, Tr. vol. 25, 21:18-22:7 (Campbell) (personally
assisted in counts).
412
    Ex. 3, Tr. vol. 4, 30:5-13 (Vail).
413
    Ex. 8, Tr. vol. 9, 89:3-89:17 (Pugh).
414
    Ex. 3, Tr. vol. 4, 17:21-18:12 (Vail).
415
    Ex. 42, PTX-639 (July 6, 2015 email).
416
    Ex. 3, Tr. vol. 4, 29:16-24 (Vail).
417
    Ex. 12, Tr. vol. 13, 83:3-20 (Thomas); Ex. 147, PTX-2799 (demonstrative summary); Ex. 92, PTX-1934
(monitor’s monthly worksheets – 2016), Ex. 95, PTX-1935 (monitor’s monthly reports – 2014), Ex. 97,
PTX-1939 (monitor’s monthly reports – 2015), JTX-061 (monitor’s monthly worksheets – 2017).


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several times when she determined that counts were not being done.418 Yet Mr. Compton admitted

that he “ha[sn’t] done anything with” any of this information.419 Warden Shaw is also aware of

Ms. Thomas’s repeated entreaties to fix the count process.420 But in 2018, Defendants’ expert

observed that EMCF continued to be found in non-compliance with count policies.421

        Fourth, EMCF security staff are rarely present on the housing pods. This problem is

pronounced in the segregation units, but it is also true elsewhere in the prison.422 Mr. Roth noted

in December 2018 that the contract monitor continued to document routine instances of staff

congregating in hallways and foyers instead of in their assigned areas.423 EMCF supervisors pay

lip-service to the issue in their written responses to the monitor’s observations,424 but Defendants

have failed meaningfully to address this problem.

        All of these EMCF staffing failures manifest in an extreme rate of assaults. Assaults are

ten times more common at EMCF than in the Washington correctional system, even though the

average prisoner in the Washington system is more violent and the Washington system uses a

broader definition of “assaults.”425 This issue was unchanged from 2016 to 2017, based on

documents and information Mr. Vail reviewed prior to the close of discovery in this case.426

Though there was a slight decrease in the number of assaults in the first part of 2018, Mr. Vail

found that all of the factors placing Plaintiffs at risk remain in place: for example, staff deployment

has not increased, the locks on the cell doors have not been fixed, and counts continue to be


418
    Ex. 42, PTX-639 (July 6, 2015 email); Ex. 50, PTX-747 (Dec. 1, 2014 report).
419
    Ex. 12, Tr. vol. 13, 83:3-24 (Compton).
420
    Ex. 20, Tr. vol. 21, 48:20-49:18 (Shaw).
421
    ECF No. 812-2 (Roth 2018 Rpt.), at 13.
422
    See ECF No. 801-1, at 16-17 (Vail 2018 Rpt.); Ex. 16, Tr. vol. 17, 100:14-19 (Hill); Ex. 17, Tr. vol. 18,
32:17-32:19 (Jones): Ex. 8, Tr. vol. 9, 45:15-46:10 (Beasley); see supra Section III.C.
423
    ECF No. 812-2, at 7-8 (Roth 2018 Rpt.).
424
    See id.
425
    Ex. 4, Tr. vol. 5, 37:11-12; 37:18-38:1; 39:5-9; 40:13-15; 64:8-65:7 (Vail).
426
    Id.


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conducted improperly. 427 Defendants have made no permanent fixes that will prevent dire safety

problems from recurring because they have not addressed their staffing deficiencies.

        C.      Remedies

        Mr. Vail offered a roadmap for remedying Defendants’ chronic and persistent

understaffing of EMCF. First, Defendants should be ordered to retain independent outside experts

to develop a comprehensive staffing analysis for the facility.428 Second, Defendants should be

ordered to revise their policies and post orders to require minimum staffing levels consistent with

those described herein.429 Third, the Court should appoint an independent monitor to oversee

staffing changes at EMCF that are consistent with the staffing analysis.430

VI.     Claim Six—Environmental Conditions

        Defendants fail to maintain adequate lighting at EMCF. This failure presents risks to

Plaintiffs’ physical safety and mental health and exacerbates unsanitary living conditions. Lighting

levels in dozens of cells and showers fall below American Public Health Association Standards

for Health Services in Correctional Institutions.431 Such deficiencies substantially increase the

risks of injury and assault, particularly in common areas such as showers.432 Moreover, the failure

to maintain lighting fixtures in safe operating condition creates fire and shock hazards.433 Deficient

lighting also increases the risk of mental decompensation among mentally ill prisoners.434


427
    See ECF No. 801-1, at 26-27 (Vail 2018 Rpt.).
428
    ECF No. 801-1, at 28 (Vail 2018 Rpt.).
429
    Id. at 29.
430
    Id. at 31.
431
    See Ex. 81, PTX-1509(B), at 6-7 (Skipworth 2016 Rpt.).
432
    See Ex. 9, Tr. vol. 10, 25:6-18 (Skipworth); see also Ex. 5, Tr. vol. 6, 69:14-19 (Hogans) (agreeing that
functioning lights are important to the safety of the prison).
433
    See Ex. 9, Tr. vol. 10, 47:4-25 (Skipworth) (noting shock hazard created by lights operated by screwing
and unscrewing the bulb), Ex. 9, Tr. vol. 10, at 49:6-25 (Skipworth) (noting fire hazard created by bare light
bulbs, which can ignite paper and other items); ECF No. 799-1, at 24 (Stern 2018 Rpt.) (noting that light
fixtures installed after trial present risk of electrocution due to exposed 120-volt wires).
434
    See Ex. 77, PTX-1506, at 18 (Kupers 2016 Rpt.) (“Depression and paranoid thinking are severely
exacerbated by excessive darkness.”); Ex. 15, Tr. vol. 16, 72:11-74:18 (Kupers) (noting the mental health


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        Defendants also fail to maintain adequate fire protection and ventilation at EMCF. Fires

and the smoke they produce pose substantial risks to prisoners.435 Poor ventilation within EMCF

exacerbates the problem.436 Fires are frequent. Poorly ventilated smoke presents health risks,

particularly for asthmatics. Fires also present mental health risks.437

        Finally, Defendants fail to maintain adequate cleanliness at EMCF. Unsanitary living

conditions at EMCF put prisoners at a substantial risk of harm. Their physical health is endangered

by pest infestations and substandard responses to biohazards, such as spilled blood, may expose

them to communicable diseases.438 Such conditions also present mental health risks and frustrate

mental health treatment.439 Prisoners also frequently lack even basic cleaning supplies.440

        Defendants are aware of their obligation to provide functioning lights, adequate fire

protection, and minimum levels of sanitation, and that they have failed to meet that obligation,




risks created by fires, lack of sanitation, lack of functioning lights, and other environmental conditions);
Ex. 14, Tr. vol. 15, 70:24-71:17 (Mitchell) (describing depression connected to segregation of up to a week
without adequate light); Ex. 10, Tr. vol. 11, 81:14-17 (Grogan) (describing depression during periods
without working lights).
435 See Ex. 5, Tr. vol. 6, 73:24-25 (Hogans); Ex. 13, Tr. vol. 14, 53:3-53:7 (Donald).
436
    See Ex. 9, Tr. vol. 10, 58:1-60:23 (Skipworth) (noting that staff failure to control the common problem
of blocked air vents negatively inhibits ventilation of smoke).
437
    Ex. 15, Tr. vol. 16, 72:11-74:18 (Kupers); see also supra Sections II.F, III.C.
438
    Ex. 81, PTX-1509(B) at 11-12 (describing communicable disease risk presented by vermin); Ex. 9, Tr.
vol. 10, 64:21-68:23 (Skipworth) (prisoner arrived to clean up spilled blood without proper protective
equipment); Ex. 8, Tr. vol. 9, 44:20-45:7 (Beasley) (required to clean prisoners’ blood from cells without
cleaning chemicals).
439
    Ex. 15, Tr. vol. 16, 77:6-22 (Kupers) (noting that “littered” or “filthy” environments impede mental
health treatment).
440
    See Ex. 10, Tr. vol. 11, 13:20-24 (Skipworth) (prisoners’ access to cleaning equipment and cleaning
agents is “limited, if . . . [any] at all”); Ex. 14, Tr. vol. 15, 74:21-76:6 (Mitchell) (trash and rats in cell); Ex.
17, Tr. vol. 18, 75:11-75:19 (Dockery) (same); Ex. 15, Tr. vol. 16, 72:21-73:4 (Kupers) (lack of cleanliness
in solitary confinement).
440
    Ex. 80, PTX-1509(A), at 6-12, 15-18 (Skipworth 2014 Rpt.); see also Ex. 12, Tr. vol. 13, 17:18-18:11
(Thomas) (contract monitor recommended light fixtures be replaced in June 2015); Ex. 11, Tr. vol. 12,
52:10-53:4 (Thomas repeatedly notified Defendants of “nasty” conditions within the facility in weekly
reports submitted from 2015-2017); Ex. 12, Tr. vol. 13, 25:10-20 (Compton, regarding light); Ex. 5, Tr.
vol. 6, 73:24-25 (Hogans) (admitting that “[f]ires on the housing unit put staff and prisoners at risk”); Ex.
13, Tr. vol. 14, 53:5-7 (Donald) (admitting that fires can be dangerous to both prisoners and staff).


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since, at the latest, their receipt of Plaintiffs’ expert’s 2014 report.441 Defendants have consistently

failed, however, to timely address these well-documented problems.442 They have offered no

evidence of permanent steps taken to ensure the problems will not recur.

        To permanently resolve these problems, Plaintiffs’ expert Diane Skipworth recommends

addressing broken light fixtures and missing light bulbs, eliminating fire hazards presented by

exposed light bulbs, removing blockages over air vent grilles, and eliminating unsanitary, pest-

harboring conditions throughout EMCF.443

VII.    Claim Seven—Nutrition and Food Safety

        Defendants fail to deliver adequate nutrition to plaintiffs and fail to meet minimum food

safety standards.444 First, prisoners receive meals that deviate from the approved menus and

contain significantly less nutritious foods.445 Second, prisoners receive inadequate quantities of

food, in part because staff direct kitchen workers to dilute food with water or decrease serving

sizes.446 Prisoners, left hungry, rummage for food in the trash.447 Third, prisoners receive food that

has been exposed to pests, is prepared using unsafe food handling practices, or contains spoiled or

unwashed ingredients.448 Each failing places Plaintiffs’ health at risk because many prisoners have


441
    See supra n.440.
442
    See Ex. 13, Tr. vol. 14, 69:1-13 (Donald) (testifying that although prisoners tampered with light fixtures
throughout his three years working on Unit 5, only one light fixture was replaced); see also Ex. 9, Tr. vol.
10, 74:14-76:13 (Skipworth) (noting that deficiencies observed in 2014 persisted in 2016); ECF No. 799-1
(Stern 2018 Rpt.) at 24 (“fires still occur in Housing Unit 5 and elsewhere”); Ex. 148, PTX-2802 (contract
monitor weekly report compilation) (findings regarding cleanliness and sanitation from Sept. 2014 to June
2017).
443
    See Ex. 81, PTX-1509(B), at 15 (Skipworth 2016 Rpt.).
444
    See, e.g., Ex. 9, Tr. vol. 10, 83:5-20, 85:12-87:8 (Skipworth).
445
    See, e.g., id. at 77:10-80:10, 81:22-82:11, 82:12-83: 20.
446
    Ex. 10, Tr. vol. 11, 56:21-57:19, 58:1-58:17 (Brewer).
447
    Ex. 10, Tr. vol. 11, 66:4-67:3 (Brewer); Ex. 10, Tr. vol. 11, 103:4-21 (Grogan); Ex. 16, Tr. vol. 17,
81:11-81:22 (Hale); Ex. 17, Tr. vol. 18, 54:23-55:17 (Jones); Ex. 24, Tr. vol. 25, 30:10-22 (Campbell).
448
    See Ex. 8, Tr. vol. 9, 67:10-14; 69:8-11 (Pugh) (describing roach infestation), 67:16-69:5 (kitchen
utensils and equipment not sanitized); Ex. 8, Tr. vol. 9, 14:18-15:4 (Mata) (describing roaches and mouse
droppings); Ex. 10, Tr. vol. 11, 61:11-62:17 (Brewer) (roaches and rodent droppings sighted regularly in
kitchen; food served that had been chewed on by rodents), 53:16-56:9 (unwashed produce and rancid-


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no other options to meet their nutritional needs,449 exposing them to potential disease.450

        Defendants have known of the risks posed by these conditions for years and have failed to

fix them. In 22 out of 32 monthly reports between September 2014 and June 2017, Ms. Thomas

noted EMCF did not properly maintain and log appropriate food service and storage

temperatures.451 Ms. Skipworth identified other deficiencies in her 2014 report that she continued

to find two years later.452 Thus, though Defendants temporarily improve conditions when under

scrutiny,453 the record makes clear that deficient conditions quickly recur.

        Ms. Skipworth recommends that Defendants should remove sources of food, water, and

harborage that support vermin and seal the outside of the building to prevent the entry of rodents.454

Defendants must enact policies and practices that ensure adherence with applicable food safety

rules, regulations, and guidelines, ensure that meals are consistent with dietician-approved menus;

and ensure that prisoners are actually served adequate meals at appropriate times.455




smelling meat served; trash regularly in food preparation bins), 67:4-69:12 (served dirty lettuce and pink,
undercooked meat); Ex. 14, Tr. vol. 15, 81:8-17; 82:4-9 (Mitchell) (served spoiled or undercooked meat
several times per month); Ex. 24, Tr. vol. 25, 28:11-30:2 (Campbell) (served frozen or spoiled food).
449
    See, e.g., Ex. 9, Tr. vol. 10, 83:5-20 (Skipworth) (“they are reliant upon the nutrients and the calories
and the protein provided by the facility meals to ensure their health and well-being”).
450
    Ex. 9, Tr. vol. 10, 90:1-6 (Skipworth); Ex. 10, Tr. vol. 11, 7:2-18 (Skipworth).
451
    See Ex. 12, Tr. vol. 13, 16:14-17:11 (Thomas).
452
    See Ex. 9, Tr. vol. 10, 74:14-17, 89:7-14 (Skipworth); Ex. 10, Tr. vol. 11, 7:2-18 (Skipworth).
453
    E.g. Ex. 10, Tr. vol. 11, 63:10-64:15 (Brewer) (kitchen cleaned before scheduled tours).
454
    See Ex. 80, PTX-1509(A), at 12-14 (Skipworth 2014 Rpt.).
455
    See id.


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                                 CERTIFICATE OF SERVICE

       I, Benjamin R. Salk, hereby certify that a true and correct copy of the foregoing document

was filed electronically. Notice of this filing will be sent by electronic mail to all parties by the

Court’s electronic filing system. Parties may access this filing through the Court’s CM/ECF

System.

       SO CERTIFIED, this the 30th day of April, 2019.

                                                      s/ Benjamin R. Salk
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